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EXHIBIT 24

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CAUSE NO. 24-07-11639

DUSTIN ETTER, IN THE DISTRICT CLERK OF

Plaintiff
Vv. MONTGOMERY COUNTY, TEXAS
AE PARTNERS HOLDINGS, INC., AEP
ASSETS HOLDINGS, LLC, ALLIANCE
ENERGY PARTNERS, LLC, ALLIANCE
FARM & RANCH, LLC, CONNECT
REALTY.COM, INC., CORINA FURR,
JEROD P. FURR, HEAVEN LEE
PROPERTIES, LLC D/B/A LUX GROUP
TX, JEANA LEA HURLEY, INVICTIS
DRILLING MOTORS, LLC,

Defendants.

007 tO COR UO OA 6? U2 OR WO? COR 60D UO UE 4OR UO

457™ JUDICIAL DISTRICT

EMERGENCY MOTION TO EXPUNGE NOTICE OF LIS PENDENS
TO THE HONORABLE JUDGE OF SAID COURT:

Now into Court, through undersigned counsel, comes Jerod Furr and Alliance Farm and
Ranch, LLC, who files this Motion to Expunge the Notice of Lis Pendens filed by Dustin Etter

(for property that is scheduled to be sold May 5, 2025), and would show the Court as follows:

Background

1. The dispute between Dustin Etter and Jerod Furr (and the related entities) is a
partnership dispute. This case is about money damages, and each party’s right to seek same with
their respective claims and counterclaims. Movant (Alliance Farm and Ranch, LLC) is the former
owner of the real property located at 5450 Honea Egypt Road, Montgomery, Texas. On January
7, 2025, the property was foreclosed upon through a non-judicial foreclosure by Erik and Darla

Ostrander. A copy of the foreclosure is attached as Exhibit 1.

Lis Pendens Filing
2. On or about August 5, 2024, a Notice of Lis Pendens was filed by Dustin Etter,

through counsel, in the above referenced cause number and asserting claims related to the above-

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described property. In particular, Etter urges that “Notice is given that the Proceeding is pending
and that the Party Filing Lis Pendens is affirmatively seeking title to, the establishment of an
interest in, or enforcement of an encumbrance against the Property”. A copy of the Notice of Lis
Pendens is attached as Exhibit 2. However, as set forth above, the property subject to the Lis
Pendens was foreclosed upon. Moreover, the pleadings in this case do not establish “a real

property claim”. As such, the Lis Pendens should be expunged from the property records.

Grounds for Expunction of Notice of Lis Pendens
3. Section 12.0071 (c) of the Property Code provides:

(c) The court shall order the notice of lis pendens expunged if the court
determines that:

(1) the pleading on which the notice is based does not contain a
real property claim;

(2) the claimant fails to establish by a preponderance of the evidence
the probable validity of the real property claim; or

(3) the person who filed the notice for record did not serve a copy of
the notice on each party entitled to a copy under Section 12.007(d).
Tex. Prop. Code Ann. § 12.0071(c) (Supp.) In re Chong, 2019 Tex.
App. LEXIS 5263, *4

4. The causes of action listed in the Etter Eighth Amended Petition are breach of
fiduciary duty, fraud, statutory fraud, restitution, vicarious and participatory liability, application
for receivership, and a request for injunctive relief. In their pleading and prayer, Dustin Etter asks
that he be awarded “title to the property”. Etter urges that the property in dispute “should have
been bought by another entity”, namely AE Partners, and in a nutshell, that Jerod Furr, individually
and through Alliance Farm and Ranch, LLC, should not have purchased the property and/or taken
a loan from Alliance Energy Partners for anything related to the property in dispute.

3. However, the controlling case law indicates that Plaintiff has not alleged a
"real property claim" under section 12.0071(c). See, In Flores v. Haberman, 915 S.W.2d 477 (Tex.

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Case 25-30155 Document 80-24 Filed in TXSB on 05/14/25 Page 4 of 46

1995) (per curiam) (orig. proceeding), wherein the plaintiffs brought a suit for conversion against
Flores, alleging that he converted property of the plaintiffs and used the proceeds to buy certain
real properties. In their petition, plaintiffs sought the imposition of a constructive trust on
the properties and filed notices of lis pendens on the properties. Jd. at 478. Because the plaintiffs
sought a constructive trust in the purchased properties only to satisfy the judgment they sought
against Flores, the Texas Supreme Court held the plaintiffs’ interest is no more than a collateral
interest in the properties and the notices of lis pendens were therefore improper. Jd. (citing Moss
v. Tennant, 722 §.W.2d 762, 763 (Tex. App.—Houston [14th Dist.] 1986, orig. proceeding)).2 In
re Chong, 2019 Tex. App. LEXIS 5263, *6-7

6. While the plaintiff may urge differently, these principles apply to conversion
claims. Typically, in a conversion suit, the claimant alleges that the proceeds of the
converted property were used to purchase real estate and then seeks a constructive trust on that
real property. In these cases, the courts have found that imposing a constructive trust on the real
estate to satisfy the judgment against the adversary is asserting only a collateral interest in the
real property and that a lis pendens is improper. See Countrywide Home Loans, Inc., 240 8.W.3d
at 6 (citing Jn re Wolf, 65 S.W.3d at 806). In re Chong. 2019 Tex. App. LEXIS 5263, *7-8.

7. In the instant matter, Plaintiff cites no authority in his pleadings that supports more
than a collateral interest in the property and fails to state a claim that would show that supports an
award of the real property to the Plaintiff. Moreover, the property is worth approximately
$6,800,000.00. A copy of the current sale contract is attached as Exhibit 3. At the most, Dustin
Etter can only claim that AEP loaned Alliance Farm and Ranch, LLC, $1,000,000.00, significantly

less than the value of the property. Dustin Etter therefore has no basis to ask this court for full title

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to the property. What Etter is trying to do is to prevent a third party, not related to this suit at all,
from selling the property. This type of action should not be allowed at all.

8. Texas courts have repeatedly rejected these types of claims, i.e., where one partner
claims the other had no authority to loan money and thus Etter is seeking a money damage claim
against Furr and the related entities. “However, this court has repeatedly rejected this logic.
Like Moss and Chong, this case involves "the use of funds obtained from the plaintiff to purchase
real property." Chong, 2019 Tex. App. LEXIS 5263, 2019 WL 2589968, at *3; Moss v. Tennant,
722 S.W.2d 762, 762-63 (Tex. App.— Houston [14th Dist.] 1986, orig. proceeding). In re Jackson,
2024 Tex. App. LEXIS 1842, *8-9. “The suit on which the lis pendens is based must claim a direct
interest in real property rather than a collateral interest. In other words, the property against which
the lis pendens is filed must be the subject matter of the underlying lawsuit. In re Jackson, 2024

Tex. App. LEXIS 1842. *1. This case is nothing more than a partnership dispute and the Honea

Egypt property is not “the subject matter of the underlying lawsuit.”

Foreclosure Sale Also Extinguishes Lis Pendens/Renders it Moot

9. A lis pendens is a litigation tool that is predicated on the pendency of a suit at the
time of the sale or transfer with respect to which it is sought to be invoked. Thus, a lis pendens has
no existence separate and apart from the litigation of which it gives notice. Aguinaga v. JAT
Projects Holdings Tex., LLC, 2022 Tex. App. LEXIS 6766, *1. Now that the foreclosure has
occurred, there is no litigation that is attached to the subject property.

10. While Etter may urge that the Notice of Lis Pendens is valid and can continue to
remain in place, the foreclosure renders it void and moot. “[A] resuscitated lis pendens in this case,
which warns of appellants’ claims against appellees regarding appellees’ interest in the Property,

can have no effect: those claims are moot because appellees no longer possess an interest in

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Case 25-30155 Document 80-24 Filed in TXSB on 05/14/25 Page 6 of 46

the Property. Aguinaga v. JAT Projects Holdings Tex.. LLC, 2022 Tex. App. LEXIS 6766, *6.

Thus, since the property is not owned by Alliance Farm and Ranch, LLC, there is no longer
anything in this suit that could be deemed an “interest in the real property”. Therefore, this court
should issue an order expunging the Notice of Lis Pendens.

Attorney’s fees and Costs for the Expungement

11. “The court in its discretion may require that the party prevailing in the expunction

hearing submit an undertaking to the court in an amount determined by the court.” Tex. Prop. Code

§ 12.0071. Furr asks this Court to look at the underlying motive of Etter and to the extent that
Etter does not voluntarily cancel the Notice of Lis Pendens, Furr asks that reasonable attorney’s
fees and costs be awarded for having to bring this motion. Furr also asks the court to take notice

of the intentional interference with the sale of the subject property.

Request for Relief
WHEREFORE, PREMISES CONSIDERED, Movant respectfully requests the Court:

- Grant this Motion to Expunge the Notice of Lis Pendens filed on August 13,2024 in
connection with 5450 Honea Egypt Road, Montgomery, Texas 77356;

- Order the County Clerk to remove and expunge the notice from the public records;

- Grant such other and further relief as the Court deems just and proper.

{signature on next page}

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Respectfully submitted,
E-MERGER LAW, PLLC

le] Deborah L. (rain

Deborah L. Crain

SBN: 24067319

dcrain@e-merger.law

1334 Brittmoore, Suite 2314

Houston, Texas 77043

Telephone: (346) 535-0818

Counsel for Jerod Furr and Alliance Farm
and Ranch, LLC

CERTIFICATE OF CONFERENCE
On April 28, 2025, the undersigned reached out to Plaintiff’s counsel regarding the Motion.
Plaintiff’s counsel is opposed to the filing of this Motion.

[el Deborah L, Crain
Deborah L. Crain

CERTIFICATE OF SERVICE _
The undersigned hereby certifies that on April 28, 2025, a true and correct copy of the
foregoing instrument was served to the listed parties of record pursuant to the Texas Rules of Civil
Procedure upon the following:

lol Deborah L. Crain
Deborah L. Crain

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After recording, return to:

THE WEAVER LAW FIRM

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12/06/2024 04:07FH

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L. BRAHOON STEINHAHNs COUNTY CLERK

1800 Bering Drive, Suite 1050 WANTGOHERS Subd, TEAK
Houston, Texas 77057
STATE OF TEXAS §

§

COUNTY OF MONTGOMERY §

Date:

Secured Obligations:

Deed of Trust:

Substitute Trustees:

Substitute Trustees’ Address:

Foreclosure Sale:
Date:

Time:

Place:

Terms of Sale:

NOTICE OF FORECLOSURE SALE

December 6, 2025

Promissory Note (“Note”), dated April I, 2022, executed by
Alliance Farm and Ranch LLC (“Borrower”), as maker, and payable
to the order of Erik C. Ostrander and Darla Ostrander
(“Beneficiary”), as lender, in the original principal amount of
$3,800,636.00, and all extensions, renewals, replacements, and
amendments thereof.

Deed of Trust, dated April 1, 2022, executed by Borrower, as
grantor, to Brent A. Lane, as trustee, for the benefit of Beneficiary,
as lender, recorded as Clerk’s File No. 2022043837 in the Official
Public Records of Real Property of Montgomery County, Texas.

Richard D. Weaver and/or Len E. Walker

1800 Bering Drive, Suite 1050
Houston, Texas 77057

Tuesday, January 7, 2025

The sale of the Property (as defined in the Deed of Trust) (such sale
is the “Foreclosure Sale”) will take place between the hours of 10:00
a.m. and 1:00 p.m. local time, the earliest time at which the
Foreclosure Sale will be is 10:00 a.m.

Montgomery County Courthouse, at the following location: Old
1936 Courthouse at 30] N. Main St., Conroe, Texas 77301, or if the
preceding area is no longer the designated area, the area as
designated by the Montgomery County Commissioners Court.

The Foreclosure Sale will be conducted as a public auction, and the real
property, more particularly described in Exhibit “A”, will be sold to the

EXHIBIT 1 Page 1 of7
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highest bidder for cash, except that Lender’s bid may be by credit
against the indebtedness secured by the lien of the Deed of Trust.

Default has occurred in the payment of the Note and in the performance of the obligations
of the Deed of Trust. Because of that default, Beneficiary, the current owner and holder of the
Note, has requested Substitute Trustee to sell the Property.

Therefore, notice is given that on and at the Date, Time, and Place of Sale described above,
Substitute Trustee will sell the Property by public sale to the highest bidder for cash in accordance
with the Deed of Trust

Assert and protect your rights as a member of the armed forces of the United States.

If you are or your spouse is serving on active military duty, including active military duty as
a_ member of the Texas National Guard or the National Guard of another state or as a

member of a reserve component of the armed forces of the United States, please send written
notice of the active duty military service to the sender of this notice immediately.

THIS INSTRUMENT APPOINTS THE SUBSTITUTE TRUSTEE(S) IDENTIFIED TO SELL
THE PROPERTY DESCRIBED IN THE SECURITY INSTRUMENT IDENTIFIED IN THIS
NOTICE OF SALE THE PERSON SIGNING THIS NOTICE IS THE ATTORNEY OR
AUTHORIZED AGENT OF THE MORTGAGEE OR MORTGAGE SERVICER.

SUBSTITUTE TRUSTEE:

TSO lee

Richard D. Weaver

SUBSTITUTE TRUSTEE:
(ZB E
STATE OF TEXAS §
§

COUNTY OF HARRIS §

This instrument was acknowledged before me on this gi day of December 2024, by
Richard D. Weaver, as Substitute Trustee, and Len E. Walker, as Substitute Trustee.

emer
wed, GUADALUPE PRICILLA LEON

24

87 yet Notary Public, State of Texas

33.2225 Comm. Expires 08-14-2027

“GREE — Notary 1D 134506202

iin and for the State of Texas

Wiley,

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EXHIBIT “A”

ALL THAT CERTAIN 72.9553 ACRE TRACT OF LAND SITUATED IN THE
MATTHEW CARTWRIGHT SURVEY, ABSTRACT NO. 151 AND THE ARCHIBALD
HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY COUNTY, TEXAS, BEING
OUT OF AND A PART OF THAT CERTAIN CALL 363.560 ACRE TRACT
DESCRIBED IN DEED FILED FOR RECORD IN VOLUME 720, PAGE 857 OF THE
DEED RECORDS OF MONTGOMERY COUNTY, TEXAS; SAID 72.9553 ACRE
TRACT BEING THE SAME PROPERTY DESCRIBED IN WARRANTY DEED FILED
FOR RECORD UNDER MONTGOMERY COUNTY CLERK'S FILE (MCCF) NO.
2004-038793 AND BEING MORE PARTICULARLY DESCRIBED BY METES AND
BOUNDS AS FOLLOWS:

BEGINNING AT AN IRON ROD FOUND IN THE SOUTH LINE OF SAID MATTHEW
CARTWRIGHT SURVEY AND THE NORTH LINE OF THE THOMAS CURRY
SURVEY, ABSTRACT NO. 1136, MONTGOMERY COUNTY, TEXAS, AT AN ANGLE
POINT IN THE WOODFOREST PARTNERS, LP. TRACT (MCCE NO. 2006-103723)
FOR THE SOUTHEAST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 89°45'07" WEST ALONG A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT, A DISTANCE OF 1348.18 FEET TO A POINT
AT THE NORTHWEST CORNER OF LOT 30, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, A SUBDIVISION IN MONTGOMERY COUNTY, TEXAS,
ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CABINET 3,
SHEET 132 OF THE MAP RECORDS OF MONTGOMERY COUNTY, TEXAS;

THENCE NORTH 89°49'39" WEST ALONG THE NORTH LINE OF MONTGOMERY
TRACE, SECTION 4, AT. A DISTANCE OF 2448.64 FEET PASS AN IRON ROD
FOUND AT THE NORTHWEST CORNER OF LOT 1, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, AND CONTINUE FOR A TOTAL DISTANCE OF 2478.64 FEET
TO A P.K. NAIL SET IN THE CENTERLINE OF HONEA EGYPT ROAD (A 60-FOOT
ROADWAY EASEMENT) AND IN THE EAST LINE OF SAID ARCHIBALD HODGE
SURVEY AND THE WEST LINE OF SAID MATTHEW CARTWRIGHT SURVEY
FOR THE SOUTHWEST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 03°40'36" WEST ALONG THE CENTERLINE OF HONEA EGYPT
ROAD, A DISTANCE OF 119.01 FEET TO A P.K. NAIL SET AT AN ANGLE POINT;
THENCE NORTH 05°23'38" WEST CONTINUING ALONG THE CENTERLINE OF
HONEA EGYPT ROAD, A DISTANCE OF 470.21 FEET TO A P.K. NAIL SET AT THE
BEGINNING POINT OF A CURVE TO THE LEFT, HAVING A RADIUS OF 231.06
FEET;

THENCE IN A NORTHWESTERLY DIRECTION CONTINUING ALONG THE

CENTERLINE OF HONEA EGYPT ROAD WITH SAID CURVE TO THE LEFT,
HAVING A RADIUS OF.231.06 FEET, AN ARC LENGTH OF 86.50 FEET TO A P.K.

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ALL THAT CERTAIN 72.9553 ACRE TRACT OF LAND SITUATED IN THE
MATTHEW CARTWRIGHT SURVEY, ABSTRACT NO. 151 AND THE ARCHIBALD
HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY COUNTY, TEXAS, BEING
OUT OF AND A PART OF THAT CERTAIN CALL 363.560 ACRE TRACT
DESCRIBED IN DEED FILED FOR RECORD IN VOLUME 720, PAGE 857 OF THE
DEED RECORDS OF MONTGOMERY COUNTY, TEXAS; SAID 72.9553 ACRE
TRACT BEING THE SAME PROPERTY DESCRIBED IN WARRANTY DEED FILED
FOR RECORD UNDER MONTGOMERY COUNTY CLERK'S FILE (MCCF) NO.
2004-038793 AND BEING MORE PARTICULARLY DESCRIBED BY METES AND
BOUNDS AS FOLLOWS:

BEGINNING AT AN IRON ROD FOUND IN THE SOUTH LINE OF SAID MATTHEW
CARTWRIGHT SURVEY AND THE NORTH LINE OF THE THOMAS CURRY
SURVEY, ABSTRACT NO. 1136, MONTGOMERY COUNTY, TEXAS, AT AN ANGLE
POINT IN THE WOODFOREST PARTNERS, LP. TRACT (MCCF NO, 2006-103723)
FOR THE SOUTHEAST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 89°45'07" WEST ALONG A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT, A DISTANCE OF 1348.18 FEET TO A POINT
AT THE NORTHWEST CORNER OF LOT 30, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, A SUBDIVISION IN MONTGOMERY COUNTY, TEXAS,
ACCORDING TO THE MAP OR PLAT THEREOF RECORDED IN CABINET 3,
SHEET 132 OF THE MAP RECORDS OF MONTGOMERY COUNTY, TEXAS;

THENCE NORTH 89°49'39" WEST ALONG THE NORTH LINE OF MONTGOMERY
TRACE, SECTION 4, AT A DISTANCE OF 2448.64 FEET PASS AN IRON ROD
FOUND AT THE NORTHWEST CORNER OF LOT 1, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, AND CONTINUE FOR A TOTAL DISTANCE OF 2478.64 FEET
TO A P.K. NAIL SET IN THE CENTERLINE OF HONEA EGYPT ROAD (A 60-FOOT
ROADWAY EASEMENT) AND IN THE EAST LINE OF SAID ARCHIBALD HODGE
SURVEY AND THE WEST LINE OF SAID MATTHEW CARTWRIGHT SURVEY
FOR THE SOUTHWEST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 03°40'36" WEST ALONG THE CENTERLINE OF HONEA EGYPT
ROAD, A DISTANCE OF 119.01 FEET TO A P.K. NAIL SET AT AN ANGLE POINT;
THENCE NORTH 05°23'38" WEST CONTINUING ALONG THE CENTERLINE OF
HONEA EGYPT ROAD, A DISTANCE OF 470.21 FEET TO A P.K. NAIL SET AT THE
BEGINNING POINT OF A CURVE TO THE LEFT, HAVING A RADIUS OF 231.06
FEET;

THENCE IN A NORTHWESTERLY DIRECTION CONTINUING ALONG THE

CENTERLINE OF HONEA EGYPT ROAD WITH SAID CURVE TO THE LEFT,
HAVING A RADIUS OF.231.06 FEET, AN ARC LENGTH OF 86.50 FEET TO A P.K.

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NAIL SET AT THE SOUTHWEST CORNER OF THE DONALD ALLAN STEFAN
AND LINDA C. STEFAN TRACT (MCCF NO. 2000-017069) FOR THE NORTHWEST
CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 85°42'15" EAST ALONG THE SOUTH LINE OF SAID STEFAN
TRACT, AT A DISTANCE OF 32.17 FEET PASS AN IRON ROD FOUND IN THE
LINE OF HONEA EGYPT ROAD, AND CONTINUE FOR A TOTAL DISTANCE OF
3915.91 FEET TO AN IRON ROD FOUND IN A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT FOR THE NORTHEAST CORNER OF THE
HEREIN DESCRIBED TRACT;

THENCE SOUTH 00°8'28" WEST ALONG SAID COMMON LINE WITH SAID

WOODFOREST PARTNERS TRACT, A DISTANCE OF 976.15 FEET TO THE POINT
OF BEGINNING AND CONTAINING 72.9553 ACRES OF LAND.

MORE COMMONLY KNOWN AS: 5450 HONEA EGYPT ROAD, MONTGOMERY,
TEXAS 77316.

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Doc #: 2025001866
Pages 10

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01/07/2025 04:09PM

Fac) Bearden tim

County Clerk,
Montgomery County, Texas

STATE OF TEXAS,

COUNTY OF MONTGOMERY

| hereby certify that this instrument was e-filed in the file number
sequence on the date and time stamped herein

by me and was duly e-RECORDED in the Official Public
Records of Montgomery County, Texas.

01/07/2025

County Clerk,
Montgamery County, Texas

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Doc #: 2025002370
Pages 16

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01/08/2025 04:41PM

County Clerk,
Montgomery County, Texas

STATE OF TEXAS,

COUNTY OF MONTGOMERY

| hereby certify that this instrument was e-filed in the file number
sequence on the date and time stamped herein

by me and was duly e-RECORDED in the Official Public
Records of Montgomery County, Texas.

01/08/2025

County Clerk,
Montgomary County, Texas

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DOC #2024079

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NOTICE OF CONFIDENTIALITY RIGHTS: IF YOU ARE A NATURAL PERSON, YOU
MAY REMOVE OR STRIKE ANY OR ALL OF THE FOLLOWING INFORMATION FROM
ANY INSTRUMENT THAT TRANSFERS AN INTEREST IN REAL PROPERTY BEFORE IT
IS FILED FOR RECORD IN THE PUBLIC RECORDS: YOUR SOCIAL SECURITY
NUMBER OR YOUR DRIVER'S LICENSE NUMBER.

Date:

Lis Pendens

August 5, 2024

Party Filing Lis Pendens: DUSTIN ETTER, ALLIANCE ENERGY PARTNERS, LLC,

AE PARTNERS HOLDINGS, INC., AE PARTNERS
HOLDINGS, LLC, AEP ASSET HOLDINGS, LLC and
INVICTIS DRILLING MOTORS, LLC

Party's Attorney's Address: 309 East Pecan Street
Gainesville, TX 76240

Other Party to Proceeding JEROD P. FURR, CORINA FURR, ALLIANCE FARM &
RANCH, LLC, AE PARTNERS HOLDINGS, LLC, AE
PARTNERS HOLDINGS, INC., ALLIANCE ENERGY
PARTNERS, LLC, AEP ASSET HOLDINGS, LLC, AND
INVICTIS DRILLING MOTORS, LLC

Other Party's Address: $450 HONEA EGYPT RD., MONTGOMERY, TX 77356

Proceeding:

Court: IN THE DISTRICT COURT MONTGOMERY COUNTY - 457TH JUDICIAL
DISTRICT COURT OF MONTGOMERY COUNTY, TEXAS

Cause Number: 24-07-11639

Style of Case: DUSTIN ETTER, ALLIANCE ENERGY PARTNERS, LLC, AE
PARTNERS HOLDINGS, INC., AE PARTNERS HOLDINGS, LLC, AEP ASSET
HOLDINGS, LLC, AND INVICTIS DRILLING MOTORS, LLC, PLAINTIFFS V.
JEROD P. FURR, CORINA FURR, ALLIANCE FARM & RANCH, LLC, AE
PARTNERS HOLDINGS, LLC, AE PARTNERS HOLDINGS, INC., ALLIANCE
ENERGY PARTNERS, LLC, AEP ASSET HOLDINGS, LLC, AND INVICTIS
DRILLING MOTOTS, LLC.

Type of Proceeding: ORIGINAL PETITION AND - APPLICATION FOR
TEMPORARY RESTRAINING ORDER & TEMPORARY INJUNCTION

Property: ALL THAT CERTAIN 72.9553 ACRE TRACT OF LAND SITUATED IN THE
MATTHEW CARTWRIGHT SURVEY, ABSTRACT NO. 151 AND THE ARCHIBALD
HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY COUNTY, TEXAS, BEING OUT

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OF AND A PART OF THAT CERTAIN CALL 363.560 ACRE TRACT DESCRIBED IN
DEED FILED FOR RECORD IN VOLUME 720, PAGE 857 OF THE DEED RECORDS OF
MONTGOMERY COUNTY, TEXAS; SAID 72.9553 ACRE TRACT BEING THE SAME
PROPERTY DESCRIBED IN WARRANTY DEED FILED FOR RECORD UNDER
MONTGOMERY COUNTY CLERK'S FILE (MCCP) NO. 2004-038796 AND BEING MORE
PARTICULARLY DESCRIBED BY METES AND BOUNDS IN EXHIBIT "A" ATTACHED
HERETO AND MADE A PART HEREOF FOR ALL PURPOSES..

Notice is given that the Proceeding is pending and that the Party Filing Lis Pendens is
affirmatively seeking title to, the establishment of an interest in, or enforcement of an
encumbrance against the Property.

ONATHAN W. HENLEY
Attorney for DUSTIN ETTER
State Bar No.: 24057896
309 E. Pecan
“ Gainesville, TX 76240
Telephone: (940) 668-2600
Facsimile: (940) 668-6880
E-mail: j.henley@bennetthenleylaw.com

ACKNOWLEDGMENT
STATE OF TEXAS )
COUNTY OF COOKE )

BEFORE ME, the undersigned Notary Public, on this day personally appeared
JONATHAN W. HENLEY, known to me to be the person whose name is subscribed to the
foregoing instrument and acknowledged to me that the same has been executed for the purposes
and consideration therein expressed.

GIVEN under my hand and seal of office this aguas 2024.

LINDA LOGUE MATAS
of i
SO Notary ID #128769457
™~ My Commission Expires
November 6, 2027

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EXHIBIT "A"

ALL THAT CERTAIN 72.9553 ACRE TRACT OF LAND SITUATED IN THE
MATTHEW CARTWRIGHT SURVEY, ABSTRACT NO. 151 AND THE ARCHIBALD
HODGE SURVEY, ABSTRACT NO. 18, MONTGOMERY COUNTY, TEXAS, BEING
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BEGINNING AT AN IRON ROD FOUND IN THE SOUTH LINE OF SAID MATTHEW
CARTWRIGHT SURVEY AND THE NORTH LINE OF THE THOMAS CURRY
SURVEY, ABSTRACT NO. 1136, MONTGOMERY COUNTY, TEXAS, AT AN ANGLE
POINT IN THE WOODFOREST PARTNERS, LP. TRACT (MCCF NO. 2006-103723)
FOR THE SOUTHEAST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 89°45'07" WEST ALONG A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT, A DISTANCE OF 1348.18 FEET TO A POINT
AT THE NORTHWEST CORNER OF LOT 30, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, A SUBDIVISION IN MONTGOMERY COUNTY, TEXAS,
ACCORDING TG THE MAP OR PLAT THEREOF RECORDED IN CABINET 3,
SHEET 132 OF THE MAP RECORDS OF MONTGOMERY COUNTY, TEXAS;

THENCE NORTH 89°49'39"" WEST ALONG THE NORTH LINE OF MONTGOMERY
TRACE, SECTION 4, AT A DISTANCE OF 2448.64 FEET PASS AN IRON ROD
FOUND AT THE NORTHWEST CORNER OF LOT 1, BLOCK 1, OF MONTGOMERY
TRACE, SECTION 4, AND CONTINUE FOR A TOTAL DISTANCE OF 2478.64 FEET
TO AP.K. NAIL SET IN THE CENTERLINE OF HONEA EGYPT ROAD (A 60-FOOT
ROADWAY EASEMENT) AND IN THE EAST LINE OF SAID ARCHIBALD HODGE
SURVEY AND THE WEST LINE OF SAID MATTHEW CARTWRIGHT SURVEY
FOR THE SOUTHWEST CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 03°40'36" WEST ALONG THE CENTERLINE OF HONEA EGYPT
ROAD, A DISTANCE OF 119.01 FEET TO A P.K. NAIL SET AT AN ANGLE POINT;
THENCE NORTH 05°23'38" WEST CONTINUING ALONG THE CENTERLINE OF
HONEA EGYPT ROAD, A DISTANCE OF 470.21 FEET TO A P.K. NAIL SET AT THE
BEGINNING POINT OF A CURVE TO THE LEFT, HAVING A RADIUS OF 231.06
FEET;

THENCE IN A NORTHWESTERLY DIRECTION CONTINUING ALONG THE

CENTERLINE OF HONEA EGYPT ROAD WITH SALD CURVE TO THE LEFT,
HAVING A RADIUS OF 231.06 FEET, AN ARC LENGTH OF 86.50 FEET TO A P.K.

EXHIBIT 2 Page 3 ofS
Case 25-30155 Document 80-24 Filed in TXSB on 05/14/25 Page 18 of 46

NALL SET AT THE SOUTHWEST CORNER OF THE DONALD ALLAN STEFAN
AND LINDA C. STEFAN TRACT (MCCF NO. 2000-617069) FOR THE NORTHWEST
CORNER OF THE HEREIN DESCRIBED TRACT;

THENCE NORTH 85°42'15" EAST ALONG THE SOUTH LINE OF SAID STEFAN
TRACT, AT A DISTANCE OF 32.17 FEET PASS AN IRON ROD FOUND IN THE
LINE OF HONEA EGYPT ROAD, AND CONTINUE FOR A TOTAL DISTANCE OF
3915.91 FEET TO AN IRON ROD FOUND IN A COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT FOR THE NORTHEAST CORNER OF THE
HEREIN DESCRIBED TRACT;

THENCE SOUTH 00°8'28" WEST ALONG SAID COMMON LINE WITH SAID
WOODFOREST PARTNERS TRACT, A DISTANCE OF 976.15 FEET TO THE POINT
OF BEGINNING AND CONTAINING 72.9553 ACRES OF LAND.

NOTE: The Company is prohibited from insuring the area or quantity of land described
herein. Any statement in the above legal description of the area or quantity of Jand is not
a representation that such area or quantity is correct, but is made only for informational
and/or identification purposes and does not override Item 2 of Schedule B hereof.

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Case 25-30155 Document 80-24 Filed in TXSB on 05/14/25 Page 19 of 46

Doc #: 2024079612
Pages 5

FILED FOR RECORD
08/13/2024 10:09AM

STATE OF TEXAS,

COUNTY OF MONTGOMERY

| hereby certify that this instrument was filed in the file number
sequence on the date and time stamped herein

by me and was duly RECORDED in the Official Public
Records of Montgomery County, Texas.

08/13/2024

EXHIBIT 2 Page 50t5
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ION PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC) 11-04-2024
TRE FARM AND RANCH CONTRACT
NOTICE: Designed For Use I

n Sales Of Existing Farms Or Ranches Of Any Size. Not For Use In Complex Transactions.

TERAs Rtad Estate comet

i>

1. PARTIES: The parties to this contract are Erik C Ostrander & Darla R Ostrander
(Seller) and Nathan Milner (Buyer). Seller agrees to
sell and convey to Buyer and Buyer agrees to buy from Seller the Property defined below.
2.PROPERTY: The land, improvements, accessories and crops except for the exclusions and
reservations, are collectively referred to as the Property (Property).

A. LAND: The land situated in the County (or Counties) of Montgomery

Texas, described as follows:A0151 A0151 - CARTWRIGHT MATTHEW, TRACT 1-A, SERIAL # SFW013709TXA,
TITLE # MH0047 0103, LABEL # NTA1551549, MODEL FC2441

or as described on attached exhibit, also known as 5450 Honea Egypt Rd, Montgomery, TX 77316
(address/zip code), together with all rights, privileges, and appurtenances pertaining thereto.
B. IMPROVEMENTS:

(1)FARM and RANCH IMPROVEMENTS: The following permanently installed and built-in
items, if any: windmills, tanks, barns, pens, fences, gates, sheds, outbuildings, and corrals.

(2) RESIDENTIAL IMPROVEMENTS: Any houses, garages, and all other ’ fixtures and
improvements attached to the above-described réal_ property, including without limitation
the following permanently installed and built-in items, if any: all equipment an
appliances, valances, screens, shutters, awnings, wall-to-wall carpeting, mirrors, ceiling fans,
attic fans, mail boxes, television antennas, mounts and brackets for televisions and speakers,
heating and air-condltionin units, security and fire detection equipment, wiring, plumbing
and lighting fixtures, chandeliers, water softener system, kitchen equipment, garage door
openers, cleaning equipment, shrubbery, landscaping, outdoor cooking equipment, and all
other pro erty attached to the above described real property.

C. ACCESSORIES:

(1) FARM AND RANCH ACCESSORIES: The following described related, accessories: (check boxes
of conveyed accessories) M1 portable buildings_¥J hunting blinds WI game feeders WJ livestock
feeders-and troughs M1 irrigation equipment fuel tanks ¥] submersible pumps M1 pressure
tanks YJ corrals ¥} gates YJ chutes YJ other: As noted in exhibit A

(2) RESIDENTIAL ACCESSORIES: The following described related accessories, if any: window air
conditioning units, stove, fireplace screens, curtains and rods, blinds, window shades
draperies and rods, door keys, mailbox keys, above ground pool, swimming pool equipmen
and maintenance accessories, artificial fireplace logs, security systems that are not fixtures
and controls for: (i) garage doors, (ii) entry gates, and (ili) other improvements an
accessories. “Controls” includes Seller's transferable rights to the {i software and
applications used to access and control improvements or accessories, and (ii) hardware used
solely to control improvements or accessories. .

D.CROPS: Unless otherwise agreed in writing, Seller has the right to harvest all growing crops until
delivery of possession of the Property.
£. EXCLUSIONS: The following improvements, accessories, and crops will be retained by Seller and

must be removed prior to delivery of possession: All personal property not named in ExhibitAtobe

Ing. .
F, RESERVATIONS: Any reservation fOr oil, gas, or other minerals, water, timber, or other interests
is made in accordance with an attached addendum.

3. SALES PRICE:

A. Cash portion of Sales Price payable by Buyer At CIOSING wrsesscseescsesesee $2,040,000
The term “Cash portion of the Sales Price” does not include proceeds from borrowing of any kind
or selling other real property except as disclosed _in this contract.
B. Sum of all financing described in the attached: M1 Third Party Financing Addendum,
Loan Assumption Addendum, (_ Seller Financing Addendum .. $4,760,000

. Sales Price (SUM_Of A ANd B)....cccccsesessessscnsecssoveesecessosouvensuneseuaeeeee $6,800,000.00

. The Sales Price 1] will M1 will not be adjusted based on the survey required by Paragraph 6C.

If the Sales Price is adjusted, the Sales Price will be adjusted based on the difference between

3 acres and the acreage set forth in the survey required by Paragraph 6C. The difference

in acreage (either increased or decreased) shall be multiplied by the sum of $N/A per acre

and either added to or subtracted from the Sales Price stated in Paragraph 3C. If the Sales Price
is adjusted by more than 10%, either party may terminate this contract by providing written
notice to the other pa within 5 days after the terminating party receives the survey.

If neither party terminates this contract or if the variance is 10% or less, the adjustment will be

made to the amount in 3A qj 3B proportionately to 3A and 3B.

4. LEASES: Except as disclosed in this contract, Seller is not aware of any leases affecting the
Property. After the Effective Date, Seller may not, without Buyer's written consent, create a new
races amend any existing lease, or convey any interest in the Property. (Check all applicable

oxes

CJA. RESIDENTIAL LEASES: The Property is subject to one or more residential leases and the
Addendum Regarding Residential Leases is attached to this,gontragha Page 4 of 27
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Initialed for identification by Buyer] At ll and Seller TREC NO, 25-16
ILA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 281 in Lye TXR 1701

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page 20f 11 11-04-2024
(Address of Property) °

(1s. FIXTURE LEASES: Fixtures on the property are subject to one or more fixture leases (for
e

example, solar panels, propane tanks, water softener, security system) and the Addend
Regarding Fixture Leases is attached to this contract. y system) naum

C. NATURAL RESOURCE LEASES: “Natural Resource Lease” means an existing oil and gas, mineral,

geotnermal, water, or other natural resource lease affecting the Property to which Seller is a

[J(1) Seller has delivered to Buyer a copy of all the Natural Resource Leases.
(J (2) Seller has not delivered to Buyer a copy of all the Natural Resource Leases. Seller shall
provide to Buyer a copy of all the Natural Resource Leases within 3 days after the Effective Date.

er may terminate the contract within days after the date the Buyer receives all the
Natural Resource Leases and the earnest money shall be refunded to Buyer.

(CD. SURFACE LEASES: “Surface Lease” means an existing lease for the surface only of the Property
(for example, grazing leases, hunting leases, agricultural leases, recreational leases, wind leases,
solar leases, timber or forestry leases). (Check all applicable boxes)

(J (1) Seller has delivered to Buyer a copy of all written Surface Leases.

Oo (2) Seller provides Buyer with notice of the following oral Surface Lease(s), identifying the type of
lease, name of the tenant(s), rental amount, and term:

(73) Seller has not delivered to Buyer all Surface Leases (whether written or oral). Seller shall
provide to Buyer a copy of all the written Surface Leases and notice of all oral Surface Leases,
identifying the type of lease, the name of the tenant(s), rental amount, and term, within 3 days
after the Effective Date. Buyer may terminate the contract within days after the date the
Buyer receives all the Surface Leases and the earnest money shall be refunded to Buyer.

5. EARNEST MONEY AND TERMINATION OPTION:

A. DELIVERY OF EARNEST MONEY AND OPTION FEE: Within 3 days after the Effective Date, Buyer
must deliver to BRPS Title of Texas LLC (Escrow Agent) at
5353 W Alabama St Ste 310, Houston, TX 77056 (address): $68,000 as earnest
money and $1,500 as the Option Fee. The earnest money and Option Fee shall be
made payable to escrow agent and may be paid separately or combined in a single payment.

(1) Buyer shall deliver additional earnest money of $0 to Escrow Agent within
ma days after the Effective Date of this contract.

(2) If the fast day to deliver the earnest money, Option Fee, or the additional earnest money falls
on a Saturday, Sunday, or legal holiday, the time to deliver the earnest money, Option Fee, or
the additional earnest money, as applicable, is extended until the end of the next day that is
not a Saturday, Sunday, or legal holiday.

(3) The amount(s) Escrow Agent receives under this paragraph shall be applied first to the Option
Fee, then to the earnest money, and then to the additional earnest money.

(4) Buyer authorizes Escrow Agent to release and deliver the Option Fee to Seller at any time
without further notice to or consent from Buyer, and releases Escrow Agent from liability for
delivery of the Option Fee to Seller. The Option Fee will be credited to the Sales Price at
closing.

B. TERMINATION OPTION: For nominal consideration, the receipt of which Seller acknowledges, and
Buyer's agreement to pay the Option Fee within the time required, Seller grants Buyer the
unrestricted right to terminate this contract by giving notice of termination to Seller within

days after the Effective Date of this contract (Option Period). Notices under this
paragraph must be given by 5:00 p.m. (local time where the Property is located) by the date
specified. If Buyer g ves notice of termination within the time prescribed: (i) the Option Fee will
not be refunded and Escrow Agent shall release any Option Fee remaining with Escrow Agent to

Seller; and (ii) any earnest money will be refunded to Buyer.

C. FAILURE TO TIMELY DELIVER EARNEST MONEY: If Buyer fails to deliver the earnest money within
the time required, Seller may terminate this contract or exercise Seller’s remedies under
Paraara h 15, or both, by providing notice to Buyer before Buyer delivers the earnest money.

D. FAILURE TO TIMELY DELIVER OPTION FEE: If no dollar amount is stated as the Option Fee or if
Buyer fails to deliver the Option Fee within the time required, Buyer shall not have the
unrestricted right to terminate this contract under this Paragraph 5.

E. TIME: Time is of the essence for this paragraph and strict compliance with the time for
performance is required.

6. TITLE POLICY AND SURVEY:

A. TITLE POLICY: Seller shall furnish to Buyer at YJ Seller’s (] Buyer's expense an owner policy of
title insurance (Title Policy) issued by: BRPS Title of Texas LLC (Title Company)
in the amount of the Sales Price, dated at or after closing, insuring Buyer against loss under the
provisions of the Title Policy, subject to the promulgated exclusions (including existing building
and zoning ordinances) and the following exceptions:

2) The standard printed exception for standby fees, taxes and assessments.

2) Liens created as part of the financing described in Paragraph 3.
3) Reservations or exceptions otherwise permitted by this contract or as may be approved by
Buyer in writing. p—initial ~ — tnitial

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Initialed for identification by Buyer] I and Seller [7 CH THD TREC NO. 25-16

]LA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 oalvestett jacmin Lye TXR 1701

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page 3 of 11 11-04-2024
(Address of Property) ,

5) The standard printed exception as to waters, tidelands, beaches, streams, and related matters.
6) The standard printed exception as to discrepancies, conflicts, shortages in area or boundary lines,
encroachments or protrusions, or overlapping improvements:
4 ti will not be amended or deleted from the title policy; or
il) will be amended to read, "shortages in area" at the expense of C] Buyer M Seller.
(7) The exception or exclusion regarding minerals approved by the Texas Department of
nsurance,

B. COMMITMENT: Within 20 days after the Title Company receives a copy of this contract, Seller shall
furnish to Buyer a commitment for title insurance (Commitment) and, at Buyer's expense, legible
copies of restrictive covenants and documents evidencing exceptions in the Commitment
{Exception Documents) other than the standard printed exceptions. Seller authorizes the Title
Company to deliver the Commitment and Exception Documents to Buyer at Buyer's address shown
in Paragraph 21. If the Commitment and Exception Documents are not delivered to Buyer within
the specified time, the time for delivery will be automatically extended up to 15 days or 3 days
before the Closing Date, whichever is earlier. If the Commitment and Exception Documents are not
delivered within the time required, Buyer may terminate this contract and the earnest money will
be refunded to Buyer.

C. SURVEY: The survey must be made by a registered professional land survey or acceptable to the
Title Company and Buyer’s lender(s). (Check one box only):

M(1) Within 10 days after the Effective Date of this contract, Seller shall furnish to Buyer and

Title Company Seller's existing survey of the Property and a Residential Real Property Affidavit

or Declaration promulgated by the Texas Department of Insurance (T-47 Affidavit or T-47.1

Declaration). Buyer shall obtain a new survey at Seller's expense no later than 3 days prior to

Closing Date if Seller fails to furnish within the time prescribed both the: (i) existing survey;

and (i affidavit or declaration. If the Title Company or Buyer’s lender does not accept the

existing survey, or the affidavit or declaration, Buyer shall obtain a new survey at Seller's
Buyer's expense no later than 3 days prior to Closing Date.

(1) (2) Within days after the Effective Date of this contract, Buyer may obtain a new survey at
Buyer's expense. Buyer is deemed to receive the survey on the date of actual receipt or the
date specified in this paragraph, whichever is earlier. If Buyer fails to obtain the survey Buyer
may not terminate the contract under Paragraph 2B of the Third Party Financing A dendum
because the survey was not obtained.

(1 (3) Within days after the Effective Date of this contract, Seller, at Seller's expense shall
furnish a new survey to Buyer.

EI (4) No survey is required.

D. OBJECTIONS: Buyer may object in writing to (i) defects, exceptions, or encumbrances to title
disclosed on the survey other than items 6A(1) through (5) above; or disclosed in the Commitment
other than items 6A(1) through (7) above; (ii) any portion of the Property lying in a special flood
hazard area (Zone V or A) as shown on the current Federal Emergency Management Agency
map; or (iii) any exceptions which prohibit the following use or activity: Commercial Use

‘5 The standard printed exception as to marital rights.

Buyer must object the earlier of (i) the Closing Date or (I) 19 days after Buyer receives the
Commitment, xception Documents, and the survey. Buyer's failure to object within the time
allowed will ‘constitute a waiver of Buyer's right to object; except that the requirements in
Schedule C of the Commitment are not waived by Buyer. Provided Seller is not obligated to incur
any expense, Seller shall cure any timely objections of Buyer or any third party lender within 15
days after Seller receives the objections (Cure Period) and the Closing Date will be extended as
necessary. If objections are not Cured within the Cure Pertod, Buyer may, by delivering notice to
Seller within 5 days after the end of the Cure Period: (i) terminate this contract and the earnest
money will be refunded to Buyer; or (ii) waive the objections. If Buyer does not terminate within
the time required, Buyer shall be deemed to have waived the obje ions. If the Commitment or
survey is revised or any new Exception Document(s) is delivered, Buyer may object to any new
matter revealed in the revised Commitment or survey or new. Exception Document(s) within the
same time stated in this paragra h to make objections beginning when the revised Commitment,
survey, or Exception Document(s) is delivered to Buyer.

E. EXCEPTION DOCUMENTS: Prior to the execution of the contract, Seller has provided Buyer with
copies of the Exception Documents listed below or on the attached exhibit. Matters reflected in the
Exception Documents listed below or on the attached exhibit will be permitted exceptions in the
Title Policy and will not be a basis for objection to title:

Document Date Recording Reference
N/A
N/A
N/A

F, SURFACE LEASES: The following Surface Leases will be permitted exceptions in the Title Policy
and will not be a basis for objection to title:N/A

G. TITLE NOTICES: .
(1) ABSTRACT OR TITLE POLICY: Broker advises Buyer. to have an abstract of title cov ring the
‘sc sele tia ubnished wi h or

Property examined by an attorney of. yer should be

Initialed for identification by Buyer] sv || jand Seller TREC NO. 25-16
JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 281 - in Lye TXR 1701

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page 4of11 11-04-2024
(Address of Property) "

obtain a, Title Policy. If a Title Policy is furnished, the. Commitment should
reviewed by an attorney of Buyer’s thoice due to the time limitations on Hyer rome yy

object.
(2) STATUTORY TAX DISTRICTS: If the Property is situated in a utility or other statutorily created
FES pee eg oe cay SP aRtucl PLN al aOR ash nance
, uyer to sign the statutory notice relating to
the tax rate, bonded indebtedness, or standby fee of the district prior to And execution of this

contract.

(3) TIDE WATERS: If the Property abuts the tidally influenced waters of the state, §33.135, Texas
Natural Resources Code, requires a notice regarding coastal area property to be included in the
contract. An addendum containing the notice promulgated by TREC or required by the parties

must_be used.

(4) ANNEXATION: If the Property is located outside the limits of a municipality, Seller notifies
Buyer under §5.011, Texas Property Cade, that the Property may now oF later be included in
the extraterritorial jurisdiction of a municipality and may now or later be subject to annexation

the municipality. Each municipality maintains a map that depicts its boundaries and
extraterritorial jurisdiction. To determine if the Property is located within a municipality's
extraterritorial jurisdiction or is likely to be located within a municipality's extraterritorial
jurisdiction, contact all municipalities located in the general proximity of the Property for
r_information.

(5) PROPERTY LOCATED IN A CERTIFICATED SERVICE AREA OF A UTILTTY SERVICE PROVIDER:

Notice required by §13.257, Water Code: The real property, described in Para rap 2, that
ou are a out to purchase may be located in a certificat ter or sewer service area, Which
by law to provide water or sewer, service to the properties jn the certificate

s authorize V .
rea, If your property is located in a certificated area there may be special costs or charges
that you will be required to pay before you can receive water or Sewer service. There may be

a period required to constr ines or other facilities pe essary to provide water or sewer
service to & r property. You are advise tp determine if the rope is in a certificated area
and contact the utili ervice provider to determine the cost that you will be required to pay
and the period, if any, that is required to provide water or sewer service to your prope. . The
undersigne Buyer. ereby acknowledge receipt of the foregoing notice af Or efore the
execution of ae nding con ct fort e Bers ase of the real property described in Paragraph 2
(6) PUBLIC IMPRO EMENT DISTRICTS: If § ro erty is in a public improvement district, Seller

fpust give Buyer wri etl otice as required b .014, Property Code. An addendum containing
the required notice shall be attached to this contract.

(7) TEXAS AGRICULTURAL DEVELOPMENT DISTRICT: The Property O1 is M1 is not located_in a
Texas Agricultural Development District. For additional information contact the Texas

Department of Agriculture . o.

(8) TRANSFER FEES: If the_Property is subject to é private_transfer fee obliga ion, ,§5.205,
Pro iy, Code, requires Seller to not puyer as ollows: ‘The private transfer fee obligation
ma governe vG apter 5, Subchapter G of the Texas Prope -ode,

(9) PR GAS SYSTEM SERVICE AREA: If the oparty is located in a propane gas system

service f{g? owned by a distribution system retailer, S¢ ler must give Buyer written notice as

require yY §141,010, Texas Vuilltie ode. An addendum containing the notice approved by

TREC or required by the arties should be used. . .

(10) NOTICE OF WATER LEVEL FLUCTUATIONS: If the Property adjoing an impoundment_of water

ncluding a reservoir or lake constructs and maintained under Chapter 11, Water Code, that

as as prage Cc pacity of at east,_5,000 acre-feet at the impoun ments normal. operati g

evel, Seller hereby no ifies Buyer: “The water Jevel of the impo i ment of water a ol ing.t

property uctuates for various reasons, including as a result of: (1) an entity awfuly
exercising jts right to use the water stored in the impoundment; or (2) drought or floo

(11) CERTIFICATE OF MOLD REMEDIATION: If the Property has been remediated for mold, Seller

must provide to Buyer each certificate of mold damage remediation issued under §1958.154,
Occupations Code, during the 5 years preceding the sale of the Property.

(12) REQUIRED NOTICES: The following notices have been given or are attached to this contract
(for example, utility, water, drainage, and public improvement districts): nya

Seller’s failure to provide applicable statutory notices may provide Buyer with remedies or
rights to terminate the contract.

7. PROPERTY CONDITION:

A. ACCESS, INSPECTIONS AND UTILITIES: Seller shall permit Buyer and Buyer's agents access to
the Property at reasonable times. Buyer may have the Property inspected Y inspectors selected
by Buyer and licensed by TREC or otherwise permitted by law to_make inspections. Any
hydrostatic testing must be separately authorized by Seller in writing. Seller at Seller's expense
shall immediately cause existing utilities to be turned on and shall keep the utilities on during the
time this contract is in effect. | a .

NOTICE: Buyer should determine the availability of utilities to the Property suitable to satisfy

Buyer's needs.
B. SELLER'S DISCLOSURE NOTICE PURSUANT TO §5.008, TEXAS PROPERTY CODE (Notice):
(Check one box only)
1) Buyer has received the Notice /
2) Buyer has not received the Notice. Within days after the Effective Date of this contract,
eller shall deliver the Notice to Buyer. If Buyer does not receive the Notice, Buyer may terminate
this contract at any time prior to the closing and the earnest money will be refunded to Buyer, If
Seller delivers the Notice, Buyer may terminate this contract for any reason within 7 days after
Buyer receives the Notice or prior to the closing, whichever first occurs, and the earnest money
will be refunded to Buyer.

3) The Texas Property Code does not regi ip Sellef to-fursish” otice. |
Initialed for identification by Buyer] | nd Seller _| 7 CP TREC NO. 25-16

JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 281 4264¢——hes_asmnin Lye TXR 1701

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A.

D.

. LENDER REQUIRED

Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page Sofil 11-04-2024
, (Address of Property) °
C. SELLER’S DISCLOSURE OF LEAD-BASED PAINT AND LEAD-BASED PAINT HAZARDS is required by

Federal law for a residential dwelling constructed prior to 1978.

ACCEPTANCE OF PROPERTY CONDITION: “As Is” means the present condition of the Property with

any and all defects and without warranty except for the warranties of title and the warranties in

this contract. Buyer’s agreement to accept the Property As Is under Paragraph 7D(1) or (2) does

not preclude Buyer from inspecting the Property under Paragraph 7A, from negotiating repairs or

treatments in a subsequent amendment, or from terminating this contract during the Option
riod, if an

G is) Bu one Box onl

33 Buyer accepts the Property As Is.
2) Buyer accepts the Property As Is provided Seller, at Seller’s expense, shall complete the

following specific repairs and treatments:R

(Do not insert general phrases, such as “subject to inspections,” that do not identify
ecific repairs and treatment:

s nts.
E. COMPLETION OF REPAIRS AND tS EATMENTS: Unless otherwise agreed in writing, Seller shall

complete_all agreed repairs and treatments prior to the Closing Date and obtain any required
permits. The repairs and treatments must be performed by persons who are licensed to provide
such repairs or treatments or, if no license is required by law, are commercially engage in the
trade of providing such repairs or treatments. Seller shall: (i) provide Buyer with copies of
documentation from the repair person(s) showing the scope of work and payment for the work
completed; and (ii) at Seller’s expense, arrange for the transfer of any transferable warranties with
respect to the repairs to Buyer at closing. Seller fails to complete any agreed repairs prior to
the Closing Date, Buyer may exercise remedies under Paragraph 15 or extend the Closing Date up
to 5 days | necessary for Seller to complete repairs.

l : EPAIRS AND TREATMENTS: Unless otherwise agreed in writing, neither party
is obligated to pay for lender required repairs, which includes treatment for wood destroying
insects. If the parties do not agree to pay for the lender required repairs or treatments, this
contract will terminate and the earnest money will be refunded to Buyer. If the cost of lender
required repairs and treatments exceeds 5% of the Sales Price, Buyer may terminate this contract
and the earnest money will be refunded to Buyer.

»ENVIRONMENTAL MATTERS: Buyer is advised that the presence of wetlands, toxic substances,

including asbestos and wastes or other environmental hazards, or the presence of a threatened or
endangered species or its habitat may affect Buyer’s intended use of the Property. If Buyer is
concerned about these matters, an addendum promulgated by TREC or required by the parties
should be use

. SELLER'S DISCLOSURE:

(1) Seller is Is not aware of any flooding of the Property which has had a material adverse
effect on the Ly of the Property.

(2) Seller is is not aware of any pending or threatened litigation, condemnation, or special
assessment affecting the Property. .

(3) Seller is is not aware of any environmental hazards that materially and adversely

affect the Pro .
(4) Seller L] is is not aware of any dumpsite, landfill, or underground tanks or containers now
or pocepusly cated on the Property.
(5) Seller is is not aware of any wetlands, as defined by federal or state law or regulation,

ane Ey the Property.

(6) seller rey is not aware of any threatened or endangered species or their habitat affecting
e Property.
i) Seller kJ is kd is not aware that the Property is Jocated []_ wholly &] partly in a floodplain.
8) Seller is is not aware that a tree or trees located on the Property has oak wilt.

f Seller {§ aware of any of the items above, explain (attach additional sheets if necessary):
Have a lis pendency that wi be removed when cirrent occupant vacates property .

B.

RESIDENTIAL SERVICE CONTRACTS: Buyer may purchase a residential service contract from a
provider or administrator licensed by the Texas Department of Licensing and Regulation. If Buyer
purchases a residential service contract, Seller shall reimburse Buyer at closing or the cost of the
residential service contract in an amount not exceeding $50 . Buyer should review
any residential service contract for the scope of coverage, exclusions and limitations. The

urchase of a residential service contract is optional. Similar coverage may be purchased
rom various companies authorized to do business in Texas.

. GOVERNMENT PROGRAMS: The Property is subject to the government programs listed below or

on the attached exhibit:wA

Seller shall provide Buyer with copies of all governmental program agreements. Any allocation or
proration of payment under governmental programs is made by separate agreement between the
parties which will survive closing.

8. BROKERS AND SALES AGENTS:

BROKER OR SALES AGENT DISCLOSURE: Texas law requires a real estate broker or sales agent
who is a party to a transaction or acting on behalf of a spouse, parent, child, business entity in
which the broker or sales agent owns more than 10%, or a trust for which the broker or sales
agent acts as a trustee or of which the broker or sales agent or the broker or sales agent’s spouse
parent or child is a beneficiary, to notify the other party in writing before entering into a contract
of sale. Disclose if applicable:N/A

BROKERS’ FEES: All obligations of the parties for payment of brokers’ fees are contained in
separate written agreements. WWitial -— Initial Pace 5 of 27

Initialed for identification by Buyer] 7 || and Seller TREC NO. 25-16
JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 28 4daGds Jasmin Lye TXR 1701

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page 6 of 11 11-04-2024
Add tp :
9. CLOSING: (Address of Property)

A. The closing of the sale will be on or before 04/24/2025 , or within 7 days
after objections made under Paragraph 6D have been cured or waived, whichever date is later
(Closing Date). If either party fails to close the sale by the Closing Date, the non-defaulting party

B Wey axercise he remedies contained in Paragraph 15.

(1) Seller shall execute and deliver a general warranty deed conveying title to the Property to
Buyer and showing no additional exceptions to those permittéd in Paragraph 6, an
ass) D Pronerty eases and furnish tax statements or certificates showing no del

{3} Buyer shall pay the Sales Price in good funds acceptable to the Escrow Agent.

3) Seller and Buyer shall execute and deliver any notices, statements, certificates, affidavits
releases, loan documents, transfer of any warranties, and other documents reasonably require
for the closing of the sale and the issuance of the Title Policy.

(4) There will be no liens, assessments, or security interests against the Property which will not
be satisfied out of the sales proceeds unless securing the payment of any loans assumed by
Buyer and assumed loans will not be in default.

(5) Private transfer fees (as defined by Chapter 5, Subchapter G of the Texas Property Code) will
be the obligation of Seller unless provided otherwise In this contract. Transfer fees assessed
by a property owners’ association are governed by the Addendum for Property Subject to

andatory Membership in a Property Owners Association.

10. POSSESSION:

A. BUYER’S POSSESSION: Seller shall deliver to Buyer possession of the Property 4 its present or
required condition, ordinary wear and tear excepted: upon closing and funding. according to a
temporary residential lease form promulgated by TREC or other written lease required by the parties.
Any possession by Buyer prior to closing or by Seller after closing which is not authorized by a written
lease will establish a tenancy at sufferance relationship between the parties. Consult your
insurance agent prior to_change of ownership and possession because insurance coverage
may be limited or terminated. The absence of a written lease or appropriate insurance
coverage may expose the parties to economic loss.

B. SMART DEVICES: “Smart Device” means a device that connects to the internet to enable remote
use, monitoring, and management of: (i) the Property; (ii) items identified In any Non-Realty
Items Addendum; or (iii) items in a Fixture Lease assigned to Buyer. At the time Seller delivers

ossession of the Property to Buyer, Seller shall:
1) deliver to Buyer written information containing all access codes, usernames, passwords, and
applications Buyer will need to access, operate, manage, and control the Smart Devices; and

(2) terminate and remove all access and connections to the improvements and accessories from
any of Seller's personal devices including but not limited to phones and computers.

11. SPECIAL PROVISIONS: (This paragraph Is intended to be used only for additional informational
items. An_ informational item is a staternent that completes a blank in a contract form, discloses
factual information, or provides instructions. Real estate brokers and sales agents are prohibited
from practicing law and shall not add to, delete, or modify any provision of this contract unless
drafted by a party to this contract or a party's attorney.)

nquent taxes

12. SETTLEMENT AND OTHER EXPENSES:
A. The following expenses must be paid at or prior to closing:
(1) Seller shall pay the following expenses (Seller's Expenses): .
(a) releases of existing liens, including prepayment penalties and recording fees; release of
Seller’s loan liability; tax stateménts or certificates; preparation of deed; one-half of
escrow fee; brokerage fees that Seller has agreed to pay; and other expenses payable by
Seller under this contract;
(b) Gs following amount to be applied to brokerage fees that Buyer has agreed to pay:
i$ or % of the Sales Price (check one box_only); an
c) an amount not to exceed $ to be applied to other Buyer’s Expenses,
(2) Buyer shall pay the following expenses (Buyer's Expenses) Appraisal fees; loan application
fees; origination charges; credit reports; preparation of loan documents, interest on the
notes from date of disbursement to one month prior to dates of first monthly payments,
recording fees; copies of easements and restrictions; loan title policy with endorsements
required by lender; loan-related inspection fees; photos; amortization schedules; one-half of
escrow fee; all prepaid Items, including required premiums for flood and hazard insurance,
reserve deposits for insurance, ad valorem taxes and special governmental assessments,
final compliance inspection; courier fee; repair inspection; underwriting fee; wire transfer fee;
expenses incident to any loan; Private Mort age nsurance Premium PMI), VA Loan Funding
Fee, or FHA Mortgage Insurance Premium P) as required by the lender; brokerage fees
that Buyer has agreed to pay; and other expenses payable by Buyer under this contract.
B. If any expense exceeds an amount expressly stated in this contract for such expense to be paid
by a pa y that party may terminate this contract unless the other party agrees to pay such
s. Buyer may not pay charges and fees expressly prohibited by FHA, VA, Texas Veterans
ons.

exces:
Land Board or other governmental loan program regula

13. PRORATIONS AND ROLLBACK TAXES:

A. PRORATIONS: Taxes for the current year, interest, rents, and regular periodic maintenance fees,
assessments, and dues (including prepaid items) will be prorated through the Closing Date. The
tax proration may be calculated taking into consideration any change in exemptions that will
affect the current year's taxes. If taxes for the current year vary from the amount prorated at
closing, the parties shall adjust the prorations when tax statements for the current year are
available. If taxes are not paid at or prior to closing, Buyer shall pay taxes for the current year.
Rentals which are unknown at time of closing will be prorated between Buyer and Seller when

they become known. Initial Initial Page 6 of 27
Initialed for identification by Buyer[” 4 || nd Seller TREC NO. 25-16
JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 2 ad + in Lye TXR 1701

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page 7ofi11 11-04-2024
(Address of Property)

B. ROLLBACK TAXES: If this sale or Buyer’s use of the Property after closing results in the
assessment of additional taxes, penalties or interest (Assessments) for periods prior to closing,
the Assessments will be the obligation of Buyer. If Assessments are imposed because of
Seller’s use or change in use of the Property prior to closing, the Assessments will be the
obligation of Seller. Obligations imposed by this paragraph will survive closing.

14. CASUALTY LOSS: If any part of the Property is damaged or destroyed by fire or other casualty
after the Effective Date of this contract, Seller shall restore the Property to its previous condition
as soon as reasonably possible, but in any event by the Closing Date. If Seller fails to do so due to
factors beyond Seller’s control, Buyer may (a) terminate this contract and the earnest money will
be refunded to Buyer, (b) extend the time for performance up to 15 days and the Closing Date will
be extended as necessary or (c) accept the Property in its damaged condition with an assignment
of insurance proceeds, if permitted by Seller’s insurance carrier, and receive credit from Seller at
closing in the amount of the deductible under the insurance policy. Seller’s obligations under this
paragraph are independent of any other obligations of Seller under this contract.

15. DEFAULT: If Buyer fails to comply with this contract, Buyer will be in default, and Seller may {3}
enforce specific performance, seek such other relief as may be provided by law, or both, or (b
terminate this contract and receive the earnest money as liquidated damages, thereby releasing
both parties from this contract. If Seller fails to comply with this contract for any other reason,
Seller will be in default and Buyer may (a) enforce specific performance, seek such other relief as
may be provided by law, or both, or (b) terminate this contract and receive the earnest money,
thereby releasing both parties from this contract.

16. MEDIATION: It is the policy of the State of Texas to encourage resolution of disputes through
alternative dispute resolution procedures such as mediation. Any dispute between Seller and
Buyer related to this contract which is not resolved through informal discussion will be submitted
to a mutually acceptable mediation service or provider. The parties to the mediation shall bear the
mediation costs equally. This paragraph does not preclude a party from seeking equitable relief
from a court of competent jurisdiction.

17. ATTORNEY'S FEES: A Buyer, Seller, Listing Broker, Other Broker, or Escrow Agent who prevails
in any legal proceeding related to this contract is entitled to recover reasonable attorney’s fees
and all costs of such proceeding.

18. ESCROW:

A. ESCROW: The Escrow Agent is not (i) a party to this contract and does not have liability for the
performance or nonperformance of any party to this contract, (ii) liable for interest on the
earnest money and (iii) liable for the loss of any earnest money caused by the failure of any
financial! institution In which the earnest money has been deposited unless the financial
institution is acting as Escrow Agent. Escrow Agent may require any disbursement made in
connection with this contract to be conditioned on Escrow Agent’s collection of good funds
acceptable to Escrow Agent.

B. EXPENSES: At closing, the earnest money must be applied first to any cash down payment,
then to Buyer's Expenses and any excess refunded to Buyer. If no closing occurs, Escrow Agent
may: (i) require a written release of liability of the Escrow Agent from all parties before
releasing any earnest money; and (ii) require payment of unpaid expenses incurred on behalf
of a party. Escrow Agent may deduct authorized expenses from the earnest money payable to a
party. “Authorized expenses” means expenses incurred by Escrow Agent on behalf of the party
entitled to the earnest money that were authorized by this contract or that party.

C. DEMAND: Upon termination of this contract, either party or the Escrow Agent may send a
release of earnest money to each party and the parties shall execute counterparts of the
release and deliver same to the Escrow Agent. If either party fails to execute the release, either
party may make a written demand to the Escrow Agent for the earnest money. If only one
party makes written demand for the earnest money, Escrow Agent shall promptly provide a
copy of the demand to the other party. If Escrow Agent does not receive written objection to
the demand from the other party within 15 days, Escrow Agent may disburse the earnest
money to the party making demand reduced by the amount of unpaid expenses incurred on
behalf of the party receiving the earnest money and Escrow Agent may pay the same to the
creditors. If Escrow Agent complies with the provisions of this paragraph, each party hereby
releases Escrow Agent from all adverse claims related to the disbursal of the earnest money.

D. DAMAGES: Any party who wrongfully fails or refuses to sign a release acceptable to the Escrow
Agent within 7 days of receipt of the request will be liable to the other party for (i) damages;
(if) the earnest money; (iii) reasonable attorney's fees; and (iv) all costs of suit.

E. NOTICES: Escrow Agent’s notices will be effective when sent in compliance with Paragraph 21.
Notice of objection to the demand will be deemed effective upon receipt by Escrow Agent.

19. REPRESENTATIONS: All covenants, representations and warranties in this contract survive
closing. If any representation of Seller in this contract is untrue on the Closing Date, Seller will be
in default. Unless expressly prohibited by written agreement, Seller may continue to show the

Property and receive, negotiate and accept back up offers.
cist

EX 1T-3 a Pege-of27—___—_
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JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 281 M42623-——— inckye TXR 1701

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page 8 of 11 11-04-2024
(Address of Property)

20. FEDERAL REQUIREMENTS:

A. If Seller is a "foreign person,” as defined by Internal Revenue Code and its regulations, or if
Seller fails to deliver an affidavit or a certificate of non-foreign status to Buyer that Seller is not a
"foreign person,” then Buyer shall withhold from the sales proceeds an amount sufficient to com-
ply with applicable tax law and deliver the same to the Internal Revenue Service together with
appropriate tax forms. Internal Revenue Service regulations require filing written reports if cur-
rency in excess of specified amounts is received in the transaction.

B. The Agriculture Foreign Investment Disclosure Act (AFIDA) of 1978 requires that a foreign person
who acquires, disposes of, or holds an interest in United States agricultural land must disclose
such transactions and holdings to the Secretary of Agriculture. Foreign persons must file an FSA-
153 in the Farm Service Agency (FSA) Service Center where the land is physically located within
90 days of the date of the transaction. Failure to report is subject to civil penalty up to 25 percent
of the fair market value of the land on the date the penalty is assessed. Consult an attorney or
tax professional.

21. NOTICES: All notices from one party to the other must be in writing and are effective when mailed
to, hand-delivered at, or transmitted by fax or electronic transmission as follows:

To Buyer at: To Seller at:

Phone: Phone:

E-mail/Fax inathan@milnerproperties.com E-mail/Fax: eostrander@appmach.com
E-mail/Fax: E-mail/Fax:

With a copy to Buyer's agent at: With a copy to Seller’s agent at:
jJasmin@JasminLye.com Tilah@luxgrouptx.com

22. AGREEMENT OF PARTIES: This contract contains the entire agreement of the parties and
cannot be changed except by their written agreement. Addenda which are a part of this contract
are (check all applicable boxes):

i i Environmental Assessment, Threatened or
Third Party Financing Addendum O En angered Species and Wetlands
Seller Financing Addendum Addendum
Addendum for Property Subject to (] Seller’s Temporary Residential Lease
Mandatory Membership in a Prope
Owners Association P perty (1 Short Sale Addendum

m Residential L Addend for Property Located Seaward
Buyer's Te porary esicenman ease LI oF get Gu Iptracemecst aterway
Loan Assumption Addendum Addend for Seller's Discl 2 of
elle isclosur

Addendum for Sale of Other Property by 0 In ore ation on Lead-based Paint and Lead
Buyer FR sed Faint Hazards as Required by

Addendum for "Back-Up" Contract
Addendum for Coastal Area Property

Addendum for Authorizing Hydrostatic
Testing

Addendum Concerning Right to _
Terminate Due to Lender’s Appraisal

Addendum for Reservation of Oil, Gas
and Other Minerals

Addendum for Property in a Propane Gas
System Service Area Y P

Addendum Regarding Residential Leases
Addendum Regarding Fixture Leases

Addendum for Section 1031 Exchange
Other (list): Exhibit A

HOOOO

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Addendum containing Notice of
Obligation to Pay Improvement District
Assessment

EXHIBIT 3 [(_- 627 on
Initialed for identification by Buyer] 4 cele Ler | TREENG. 25-16

JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 281 : in tye TXR 1701

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316 Page 9 of 11
(Address of Property) ,

23. CONSULT AN ATTORNEY BEFORE SIGNING: TREC rules prohibit real estate brokers and sales
agents from giving legal advice. READ THIS CONTRACT CAREFULLY.

11-04-2024

Buyer's Seller's

Attorney is: fly.aw@comcast.net Attorney is:

Phone: Phone:

Fax: Fax:

E-mail: E-mail:

EXECUTED the day of — 2/27/2025 , 20 (Effective Date).

(BROKER: FILL IN THE DATE OF FINAL ACCEPTANCE.)

,, dotloop verified P—— Signed by:
Wiitian Milner tacreaiesesue | | CK) py — 2/27/2025
ib
buyer SPSFSE0A46B13426..
Signed by:
} 2/27/2025
Buyer E204FEB431...

TIN. The form of this contract has been approved by the Texas Real Estate Commission. TREC forms are intended for use only
* by trained real estate license holders. No representation is made as to the legal validity or adequacy of any provision in any

T C specific transactions. It is not intended for complex transactions. Texas Real Estate Commission, P.O. Box 12188, Austin,
TX 78711-2188, (512) 936-3000 (http://www.trec.texas.gov) TREC NO. 25-16. This form replaces TREC NO. 25-15.

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JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 2817442611 Jasmin Lye TREC NO. 25-16

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Contract Concerning 5450 Honea Egypt Rd, Montgomery, TX 77316
{Address of Property)

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RATIFICATION OF FEE

Listing Broker has agreed to pay Other Broker 2.5% of the total Sales
Price when Listing Broker’s fee is received. Escrow Agent ts authorized and directed to pay Other Broker from
Listing Broker's fee at closing.

Other Broker: Listing Broker:
oe mech tay-
By: | feowinshje sees By: Ht 2/27/2025
A
BROKER INFORMATION AND AGREEMENT FOR PAY, - BROKERS’ FEES
JLA Realty $000562 Connect Realty.com 0573369
Other Broker License No, Listing or Principal Broker License No.
Jasmin Lye 660507 Tilah Lee Spruel 726680
Associate’s Name License No. Listing Associate’s Name License No.
Lux Group
Team Name Team Narme
jasmin@jasminlye.com 832-857-9394 tilah@luxgrouptx.com 702-408-4464
Associate’s Email Address Phone Listing Associate’s Email Address Phone
John Altic Mary Goudreault 0538377
Licensed Supervisor of Associate License No. Licensed Supervisor of Listing Associate License No.
5332 FM 1960 E, STE C 2170 Buckthorne Place, Ste 200
Other Broker’s Office Address Phone Listing Broker‘s Office Address Phone
HUMBLE, TX 77346 The Woodlands, TX 77380
City State Zip City State Zip
represents Buyer only as Buyer's agent Selling Associate License No.
|_| Seller as Listing Broker's subagent
Team Name
Selling Associate’s Email Address Phone
Licensed Supervisor of Selling Associate License No.
Selling Associate's Office Address
City State Zip

Buyer only

Seller and Buyer as an intermediary
Upon closing of the sale By Seller_to Buyer of the Property described in_the contract to which this fee
agreement is attached: (a) ¥JSeller C) Buyer will pay Listing/Principal Broker La cash fee of $

or W125 _—*% of the total Sales Price; and (b) MSeller Buyer will pay Other Broker Ga cash fee of
or ¥12.5 % of the total Sales Price. Seller/Buyer authorizes and directs Escrow Agent

to pay the brokers from the proceeds at closing.

represents H ee only

DO NOT SIGN IF THERE IS A SEPARATE AGREEMENT FOR PAYMENT OF BROKERS FEES. Brokers' fees are
negotiable. Brokers' fees or the sharing of fees between brokers are not fixed, controlled, recommended,

s ed or maintained by the Texas Real Estate Commission.
Cf nae 2/27/2025 | Macaw Miter See ce
Selleerscoascs13428... “Buyer
Signed by:
2/27/2025
At ov ie /27/
“elo fercezo4renast... Buyer

Page 10 of 27
TREC NO. 25-16

EXHIBIT 3
5332 FM 1960 E STE C HUMBLE, TX 77346

JLA Realty 2817442611 Jasmin Lye

TXR 1701
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Contract Concerning _5450 Honea Egypt Rd, Montgomery, TX 77316 age ilof11 11-04-2024
(Address of Property)

OPTION FEE RECEIPT

Receipt of $1,500.00 (Option Fee) in the form of
is acknowledged.

Larose ome!

EARNEST MONEY RECEIPT

Receipt of $68,000.00 Earnest Money in the form of

is acknowledged.

ESCOW AGENT RECEIVE DY — Email Address Date/Time
Address Phone
City State Zip Fax

CONTRACT RECEIPT

Receipt of the Contract is acknowledged.

Leow Reever vy Email Address Date

Acaress Phone
City State Zip Fax
ADDITIONAL EARNEST MONEY RECEIPT

Receipt of $.00 additional Earnest Money in the form of

is acknowledged.

| pewwrper erry! ‘Efrat Addréss Date/Time

Address PRONE
crey State Zip “ar
EXHIBIT 3 Page 11 of 27
JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 77346 2817442611 Jasmin Lye TREC NO. 25-16
TXR 1701

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Exhibit A

oN Concerning property located at:
(EQN 5450
5669 Honea Egypt Road, Montgomery, TX 77316

All furnishings in bar

Case JX95 Tractor with Brush Hog SN#33678
Case 586 Forklift SD#76250-2

2/ea Kubota Zero Turn Diesel Mowers SN#53851 & 1229
1/ea Honda ATV (Green side by side)

500 Glon Diesel Fuel Tank on wheels
Fertilizer Spreader

One 60KW Diesel Generator SN #8800152
2/ea 5 Ton overhead cranes in Shop
Challenger Car Lift

Paint Booth

4/ea Cattle as present during showing

2/ea Donkeys as present during showing
TVs in Bar

Walk-in Cooler and Freezer in Barn

Ice Maker in Barn

*Final bill of sale to be provided at closing and funding for all items noted above*

Buyer:

MethanNM lwo Sane cx
NSU3-WZVP-QBEK-TR9U

dotloop verified

Signed by:
Sater () Ot 2/27/2025

95F5E0A46B 13428...

Signed by:

hla 2/27/2025

276F0E204FEB431...

EXHIBIT 3

Page 12 of 27
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11-04-2024
an PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC)
Satara ee THIRD PARTY FINANCING ADDENDUM oobi

TO CONTRACT CONCERNING THE PROPERTY AT

5450 Honea Egypt Rd, Montgomery, TX 77316
(Street Address and City)

1. TYPE OF FINANCING AND DUTY TO APPLY AND OBTAIN APPROVAL: Buyer shall apply
promptly for all financing described below and make every reasonable effort to obtain approval
for the financing, including but not limited to furnishing all information and documents
required by Buyer’s lender. (Check applicable boxes):

YM] A. CONVENTIONAL FINANCING:

V1 (1) A first mortgage loan in the principal amount of $4,760,000 (excluding any
financed PMI premium), due in fullin 30 _ year(s), with interest not to exceed 7%
per annum for the first 30 year(S) of the loan with Origination Charges as shown on
Buyer’s Loan Estimate for the loan not to exceed 1% of the loan.

(-] (2) A second mortgage loan in the principal amount of $ (excluding any
financed PMI premium), due in full in year(s), with interest not to exceed
% per annum for the first year(s) of the loan with Origination Charges as

shown on Buyer’s Loan Estimate for the loan not to exceed % of the loan.

Cl] B. TEXAS VETERANS LOAN: A loan(s) from the Texas Veterans Land Board of
$ for a period in the total amount of years at the interest rate
established by the Texas Veterans Land Board.

(1 c. FHA INSURED FINANCING: A Section FHA insured loan of not less than
(excluding any financed MIP), amortizable monthly for not less
than years, with interest not to exceed % per annum for the first

year(s) of the loan with Origination Charges as shown on Buyer’s Loan Estimate for
the loan not to exceed % of the loan.

CJ D. VA GUARANTEED FINANCING: A VA guaranteed loan of not less than $
(excluding any financed Funding Fee), amortizable monthly for not less than years,
with interest not to exceed % per annum for the first year(s) of the loan with
Origination Charges as shown on Buyer’s Loan Estimate for the loan not to exceed

% of the loan.

(J £. USDA GUARANTEED FINANCING: A USDA-guaranteed loan of not less than $
(excluding any financed Funding Fee), amortizable monthly for not less than years,
with interest not to exceed % per annum for the first year(s) of the loan with
Origination Charges as shown On Buyer’s Loan Estimate for the Toan not to exceed %
of the loan.

(CF. REVERSE MORTGAGE FINANCING: A reverse mortgage loan (also known as a Home Equity
Conversion Mortgage loan) in the original principal amount of $ (excluding
any financed PMI premium or other costs), with interest not to exceed ___—% per annum
for the first year(s) of the loan with Origination Charges as shown on Buyer’s Loan
Estimate for the loan not to exceed % of the loan. The reverse mortgage loan [will
C0 will not be an FHA insured loan.

[J G. OTHER FINANCING: A loan not of a type described above from
(name of lender) in the principal amount of $ due in year(s), with
interest not to exceed % per annum for the first year(s) of the loan with

Origination Charges not to exceed % of the loan. Buyer [J does C0 does not waive all
rights to terminate the contract under Paragraph 2B of this addendum for the loan
described in this paragraph.

2. APPROVAL OF FINANCING: Approval for the financing described above will_be deemed to
have been obtained when Buyer Approval and Property Approval are obtained. Time is of the
essence, for this paragraph and strict compliance with the time for performance is
required.

Initialed for identification by Buyer| a | [aowpe he OID Pee NO. 40-11
JLA Realty 5332 FM 1960 ESTE C HUMBLE, TX 77346 . Jasmin Lye TXR 1901

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11-04-2024
Third Party Financing Addendum Concerning Page 2 of 2

5450 Honea Egypt Rd, Montgomery, TX 77316
(Address of Property)

A.BUYER APPROVAL (Check one box only):

VW] This contract is subject to Buyer obtaining Buyer Approval. If Buyer cannot obtain Buyer
Approval, Buyer may terminate this contract within __30 days after the Effective Date of
the contract by giving Seller: (i) notice of termination; and (ii) a copy of a written
statement from the lender setting forth the reason(s) for lender’s determination. If Buyer
terminates the contract under this provision, this contract will terminate and the earnest
money will be refunded to Buyer. If Buyer does not terminate the contract under
Paragraph 2A, the contract shall no longer be subject to the Buyer obtaining Buyer
Approval. Buyer Approval will be deemed to have been obtained when (i) the terms of
the loan(s) described above are available and (ii) lender determines that Buyer has
satisfied all of lender's requirements related to Buyer’s assets

(J This contract is not subject to Buyer obtaining Buyer Approval,

B.PROPERTY APPROVAL: If Buyer’s lender determines that the Property does not satisfy
lender's underwriting requirements for the loan (including but not limited to appraisal,
insurability, and lender required repairs) Buyer may terminate this contract on or before the
3rd day before the Closing Date by giving Seller: (i) notice of termination; and (ii) a copy of

a written statement from the lender setting forth the reason(s) for lender’s determination. If

Buyer terminates under this paragraph, the earnest money will be refunded to Buyer. If

Buyer does not terminate under this paragraph, Property Approval is deemed to have been

obtained.

3. SECURITY: If required by Buyer's lender, each note for the financing described above must
be secured by vendor's and deed of trust liens.

4. FHA/VA REQUIRED PROVISION: If the financing described above involves FHA insured or
VA financing, it is expressly agreed that, notwithstanding any other provision of this contract,
the purchaser (Buyer) shall not be obligated _to complete the purchase of the Property
described herein or to incur any penalty by forfeiture of earnest money deposits or otherwise:
(i) unless the Buyer has been given in accordance with HUD/FHA or VA requirements a written
statement issued by the Federal Housing Commissioner, Department of Veterans Affairs, or a
Direct Endorsement Lender setting forth the appraised value of the Property of not less than

or fii) if fhe contract purchase price or cost exceeds the reasonable

value of the Property established by the Department of Veterans Affairs. The 3-day notice of

termination requirement in Paragraph 2B does not apply to this Paragraph 4.

A. The Buyer shall have the privilege and option of proceeding with consummation of the
contract without regard to the amount of the appraised valuation or the reasonable value
established by the Department of Veterans Affairs. | / .

B. If FHA financing is involved, the appraised valuation is arrived at to determine the maximum
mortgage the Department of Housing and Urban Development will insure: HUD does not
warrant the value or the condition of the perty ate The Buyer should satisfy himself/herself

income and credit history.

that the price and the condition of the Property are acceptable. .

C. If VA financing is involved and if Buyer elects to complete the purchase at an amount in
excess of the reasonable value established by the VA, Buyer shall pay such excess amount in
cash from a source which Buyer agrees to disclose to the VA and which Buyer represents will
not be from borrowed funds except as approved by VA. If VA reasonable value of the
Property is less than the Sales Prices, Seller may reduce the Sales Price to an amount equal
to the VA reasonable value and the sale will be closed at the lower Sales Price with
proportionate adjustments to the down payment and the loan amount.

5. AUTHORIZATION TO RELEASE INFORMATION: .
A. Buyer authorizes Buyer’s lender to furnish to Seller or Buyer or their representatives
information relating to the status of the approval for the financing. .
B. Seller and Buyer authorize Buyer’s lender, title company, and Escrow Agent to disclose and
furnish a copy of the closing disclosures and settlement statements to the parties’ respective
brokers and sales agents provided under Broker Information.

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Mithan Milner avHUIGEKOXSSTED f) ‘LD 4 2/27/2025
Buyer SEEOAAEE 13428...
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| wirAl da 2/27/2025
Buyer FOE204FEB431...
This form has been approved by the Texas Real Estate Commission for use with similarly approved or promulgated
* contract forms. Such approval relates to this form only. TREC forms are intended for use only by trained real estate
license holders. No representation is made as to the legal validity or adequacy of any provision in any specific
I C transactions. It is not intended for complex transactions. Texas Real Estate Commission, P.O, Box 12188, Austin, TX
78711-2188, (512) 936-3000 (http://www.trec.texas.gov) TREC No. 40-11. This form replaces TREC No, 40-10.
TERAT REAL ESTATE COMMISSION

JLA Realty 5332 FM 1960 E STE C HUMBLE, TX 79K HIBIT 3 2817442611 Jasmin Lye Pagerié Wie, 40-11
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Yat TEXAS REALTORS

SELLER'S DISCLOSURE NOTICE

OToxas Association of REALTORS®, Inc. 2022
Section 5.008, Property Code requires a seller of residential property of not more than one dwelling unit to deliver a Seller's Disclosure
Notice to a buyer on or before the effective date of a contract, This form complies with and contains additional disclosures which
exceed the minimum disclosures required by the Code.

5450 Honea Egypt Road
CONCERNING THE PROPERTY AT Montgomery, Texas _77316

THIS NOTICE IS A DISCLOSURE OF SELLER'S KNOWLEDGE OF THE CONDITION OF THE PROPERTY
AS OF THE DATE SIGNED BY SELLER AND IS NOT A SUBSTITUTE FOR ANY INSPECTIONS OR
WARRANTIES THE BUYER MAY WISH TO OBTAIN. IT IS NOT A WARRANTY OF ANY KIND BY SELLER,
SELLER'S AGENTS, OR ANY OTHER AGENT.

Seller x is __ is not occupying the Property. If unoccupied (by Seller), how long since Seller has occupied
the Property? —_ (approximate date) or _ never occupied the
Property

Section 1. The Property has the items marked below: (Mark Yes (Y), No (N), or Unknown (U).)
This notice does not establish the items to be conveyed. The contract will determine which items will & will not convey.

Item YIN IU Item YIN{U Item YIN |U
Cable TV Wiring x Natural Gas Lines x Pump: x sump grinder | x
Carbon Monoxide Det. | x Fuel Gas Piping: x Rain Gutters x
Ceiling Fans x | -Black Iron Pipe xX Range/Stove x
Cooktop x -Copper x Roof/Attic Vents x

. -Corrugated Stainless Sauna
Dishwasher x Stee! Spin 9 X x
Disposal x Hot Tub x Smoke Detector x
Emergency Escape x Intercom System x Smoke Detector - Hearing x
Ladder(s) Impaired
Exhaust Fans x Microwave x Spa x
Fences x Outdoor Grill x Trash Compactor x
Fire Detection Equip. x Patio/Decking X TV Antenna x
French Drain x Plumbing System x Washer/Dryer Hookup x
Gas Fixtures x Pool x Window Screens x
Liquid Propane Gas: x Pool Equipment x Public Sewer System x
-LP Community Pool Maint. Accessories
(Captive) x x
-LP on Property x Pool Heater x
Item YIN] U Additional Information
Central A/C x electric __gas_ number of units:
Evaporative Coolers x number of units:
Wall/Window AC Units x number of units: 4
Attic Fan(s) x ifyes, describe: temperature controled exaust fans in attic  _|
Central Heat x electric x_ gas number of units:_7
Other Heat x if yes, describe: 4 Gree mini Split AC/Heat units
Oven x number of ovens: « electric x gas x_ other:
Fireplace & Chimney x wood x gaslogs mock _ other:
Carport x attached __ not attached
Garage x x_ attached not attached
Garage Door Openers Xx number of units: 2 number of remotes: 4
Satellite Dish & Controls x owned __ leased from:
Security System x X owned leased from:
(TXR-1406) 07-10-23 Initialed by: Buyer: St 1nd Seller? ' Page 1 of 7

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5450 Honea Egypt Road

Concerning the Property at Montgomery, Texas 77316

Solar Panels x owned _ leased from:

Water Heater x x_ electric x gas _ other. number of units: 5
Water Softener x x owned __ leased from:

Other Leased Items(s) x if yes, describe:

Underground Lawn Sprinkler x __ automatic _ manual areas covered

Septic / On-Site Sewer Facility x if yes, attach Information About On-Site Sewer Facility (TXR-1407)

Water supply provided by: city x_well_| MUD co-op __ unknown __ other:
Was the Property built before 19787? | yes _ x no__ unknown

(If yes, complete, sign, and attach TXR-1906 concerning lead-based paint hazards).
Roof Type: composite Age: 20yrs (approximate)
is there an overlay roof covering on the Property (shingles or roof covering placed over existing shingles or roof
covering)? yes _x no__ unknown

Are you (Seller) aware of any of the items listed in this Section 1 that are not in working condition, that have
defects, or are need of repair? | yes x _no If yes, describe (attach additional sheets if necessary):

Section 2. Are you (Seller) aware of any defects or malfunctions in any of the following? (Mark Yes (Y)
if you are aware and No (N) if you are not aware.)

Item YIN Item YN Item YIN
Basement x Floors x Sidewalks x
Ceilings x Foundation / Slab(s) x Walls / Fences xX
Doors x Interior Walls x Windows x
Driveways x Lighting Fixtures x Other Structural Components x
Electrical Systems x Plumbing Systems x

Exterior Walls x Roof x

if the answer to any of the items in Section 2 is yes, explain (attach additional sheets if necessary):

Section 3. Are you (Seller) aware of any of the following conditions? (Mark Yes (Y) if you are aware
and No (N) if you are not aware.)

Condition Y{N Condition Y|N
Aluminum Wiring x Radon Gas x
Asbestos Components x Settling x
Diseased Trees: _ oak wilt x Soil Movement x
Endangered Species/Habitat on Property x Subsurface Structure or Pits x
Fault Lines x Underground Storage Tanks X
Hazardous or Toxic Waste x Unplatted Easements x
Improper Drainage x Unrecorded Easements x
Intermittent or Weather Springs x Urea-formaldehyde Insulation x
Landfill Xx Water Damage Not Due to a Flood Event x
Lead-Based Paint or Lead-Based Pt. Hazards x Wetlands on Property x
Encroachments onto the Property x Wood Rot x
Improvements encroaching on others’ property x Active infestation of termites or other wood

destroying insects (WDI) x
Located in Historic District x Previous treatment for termites or WDI x
Historic Property Designation x| | Previous termite or WDI damage repaired x
Previous Foundation Repairs Previous Fires x
(TXR-1406) 07-10-23 Initialed by: Buyer: , and Selter. |? ; Page 2 of 7
Tracee Spruel, 2170 Buckhthorne The Woodlands TX 77380 02/25/2 Phone: 2813063020 Fax: S450 Honea Egypt
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5450 Honea Egypt Road

Concerning the Property at Montgomery, Texas 77316
Previous Roof Repairs Termite or WDI damage needing repair x
Previous Other Structural Repairs x Single Blockable Main Drain in Pool/Hot

Tub/Spa* x

Previous Use of Premises for Manufacture
of Methamphetamine

If the answer to any of the items in Section 3 is yes, explain (attach additional sheets if necessary):
Fire damaged water well tank, softer/filtration system and window. water well tank, piping,
electrical, softener/filter replaced Jan 2024

*A single blockable main drain may cause a suction entrapment hazard for an individual.

Section 4. Are you (Seller) aware of any item, equipment, or system in or on the Property that is in need
of repair, which has not been previously disclosed in this notice? | yes x no If yes, explain (attach
additional sheets if necessary):

Section 5. Are you (Seller) aware of any of the following conditions?* (Mark Yes (Y) if you are aware and
check wholly or partly as applicable. Mark No (N) if you are not aware.)

Y N

_ x Present flood insurance coverage.

_ x Previous flooding due to a failure or breach of a reservoir or a controlled or emergency release of
water from a reservoir.

_ x Previous flooding due to a natural flood event.

xX Previous water penetration into a structure on the Property due to a natural flood.

xX Located ___ wholly x partly in a 100-year floodplain (Special Flood Hazard Area-Zone A, V, A99, AE,
AO, AH, VE, or AR).

_ x Located wholly __ partly in a 500-year floodplain (Moderate Flood Hazard Area-Zone X (shaded)).

_ x Located wholly ___ partly in a floodway.

_ x Located wholly ___ partly in a flood pool.

_ xX Located wholly ___ partly in a reservoir.

If the answer to any of the above is yes, explain (attach additional sheets as necessary):

*if Buyer is concerned about these matters, Buyer may consult Information About Flood Hazards (TXR 1414).
For purposes of this notice:

“100-year floodplain" means any area of land that: (A) is identified on the flood insurance rate map as a special flood hazard area,
which is designated as Zone A, V, A99, AE, AO, AH, VE, or AR on the map; (B) has a one percent annual chance of ficoding,
which is considered to be a high risk of flooding; and (C) may include a regulatory floodway, flood pool, or reservoir.

“500-year floodplain“ means any area of land that: (A) is identified on the flood insurance rate map as a moderate flood hazard
area, which is designated on the map as Zone X (shaded); and (B) has a two-tenths of one percent annual chance of flooding,
which is considered to be a moderate risk of flooding.

‘Flood pool” means the area adjacent to a reservoir that lies above the normal maximum operating level of the reservoir and that is
subject to controlled inundation under the management of the United States Army Corps of Engineers.

{TXR-1406) 07-10-23 Initialed by: Buyer: NU and Seller( 72 , Page 3 of 7

Tracee Spruel, 2170 Buckhthorne The Woodlands TX 77380 ance Phone: 2813063020 Fax: 5450 Honea Egypt

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5450 Honea Egypt Road
Concerning the Property at Montgomery, Texas _77316

"Flood insurance rate map" means the most recent flood hazard map published by the Federal Emergency Management Agency
under the National Flood Insurance Act of 1968 (42 U.S.C. Section 4001 et seq.).

"Floodway" means an area that is identified on the flood insurance rate map as a regulatory floodway, which includes the channel of
a river or other watercourse and the adjacent land areas that must be reserved for the discharge of a base flood, also referred to as
a 100-year flood, without cumulatively increasing the waiter surface elevation more than a designated height.

"Reservoir" means a water impoundment project operated by the United States Army Corps of Engineers that is intended to retain
water or delay the runoff of water in a designated surface area of land.

Section 6. Have you (Seller) ever filed a claim for flood damage to the Property with any insurance
provider, including the National Flood Insurance Program (NFIP)?* — yes x no If yes, explain (attach
additional sheets as necessary):

*Homes in high risk flood zones with mortgages from federally regulated or insured lenders are required to have flood insurance.
Even when not required, the Federal Emergency Management Agency (FEMA) encourages homeowners in high risk, moderate
risk, and low risk flood zones to purchase flood insurance that covers the structure(s) and the personal property within the
structure(s).

Section 7. Have you (Seller) ever received assistance from FEMA or the U.S. Small Business
Administration (SBA) for flood damage to the Property? — yes x no If yes, explain (attach additional
sheets as necessary):

Section 8. Are you (Seller) aware of any of the following? (Mark Yes (Y) if you are aware. Mark No (N)
if you are not aware.)

Y N
_ x Room additions, structural modifications, or other alterations or repairs made without necessary
permits, with unresolved permits, or not in compliance with building codes in effect at the time.
_ x Homeowners' associations or maintenance fees or assessments. If yes, complete the following:
Name of association:
Manager's name: Phone:
Fees or assessments are: $ per and are:___ mandatory ___ voluntary
Any unpaid fees or assessment for the Property? __ yes ($ )__ no
If the Property is in more than one association, provide information about the other associations
below or attach information to this notice.
_ xX Any common area (facilities such as pools, tennis courts, walkways, or other} co-owned in undivided
interest with others. If yes, complete the following:
Any optional user fees for common facilities charged? yes _ no If yes, describe:
—_ xX Any notices of violations of deed restrictions or governmental ordinances affecting the condition or
use of the Property.
—_ x Any lawsuits or other legal proceedings directly or indirectly affecting the Property. (Includes, but is
nat limited to: divorce, foreclosure, heirship, bankruptcy, and taxes.)
— xX Any death on the Property except for those deaths caused by: natural causes, suicide, or accident
unrelated to the condition of the Property.
_ x Any condition on the Property which materially affects the health or safety of an individual.
— x Any repairs or treatments, other than routine maintenance, made to the Property to remediate
environmental hazards such as asbestos, radon, lead-based paint, urea-formaldehyde, or mold.
If yes, attach any certificates or other documentation identifying the extent of the
remediation (for example, certificate of mold remediation or other remediation).
_ xX Any rainwater harvesting system located on the Property that is larger than 500 gallons and that uses
a public water supply as an auxiliary water source.
(TXR-1406) 07-10-23 Initiated by: Buyer: and Seller:| 4? , Page 4 of 7
Tracee Spruct, 2170 Buckhthorne The Woodlands TX 77380 Saat a Phone: 2813063020 Fax: 5450 Honea Egypt

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5450 Honea Egypt Road
Concerning the Property at Montgomery, Texas 77316
— xX The Property is located in a propane gas system service area owned by a propane distribution system
retailer.
_ xX Any portion of the Property that is located in a groundwater conservation district or a subsidence
district.

If the answer to any of the items in Section 8 is yes, explain (attach additional sheets if necessary):

Section 9. Within the last 4 years, have you (Seller) received any written inspection reports from
persons who regularly provide inspections and who are either licensed as inspectors or otherwise
permitted by law to perform inspections? x yes __ no If yes, attach copies and complete the following:

Inspection Date Type Name of Inspector No. of Pages

Note: A buyer should not rely on the above-cited reports as a reflection of the current condition of the Property.
A buyer should obtain inspections from inspectors chosen by the buyer.

Section 10. Check any tax exemption(s) which you (Seller) currently claim for the Property:

___ Homestead __ Senior Citizen __ Disabled
__ Wildlife Management _x. Agricultural __ Disabled Veteran
__ Other: ___ Unknown

Section 11. Have you (Seller) ever filed a claim for damage, other than flood damage, to the Property
with any insurance provider? x yes no

Section 12. Have you (Seller) ever received proceeds for a claim for damage to the Property (for
example, an insurance claim or a settlement or award in a legal proceeding) and not used the proceeds
to make the repairs for which the claim was made? __ yes x_no If yes, explain:

Section 13. Does the Property have working smoke detectors installed in accordance with the smoke
detector requirements of Chapter 766 of the Health and Safety Code?* — unknown _ no x yes. If no
or unknown, explain. (Attach additional sheets if necessary):

*Chapter 766 of the Health and Safety Code requires one-family or two-family dwellings to have working smoke detectors
installed in accordance with the requirements of the building code in effect in the area in which the dwelling is located,
including performance, location, and power source requirements. If you do not know the building code requirements in effect
in your area, you may check unknown above or contact your focal building official for more information.

A buyer may require a seller to install smoke detectors for the hearing impaired if: (1) the buyer or a member of the buyer's
family who will reside in the dwelling is hearing-impaired; (2) the buyer gives the seller written evidence of the hearing
impairment from a licensed physician; and (3) within 10 days after the effective date, the buyer makes a written request for the
seller to install smoke detectors for the hearing-impaired and specifies the locations for installation. The parties may agree
who will bear the cost of installing the smoke detectors and which brand of smoke detectors to install.

(TXR-1406) 07-10-23 Initialed by: Buyer: and Seller: 9? : Page 5 of 7

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Tracee Sprvel, 2170 Buckbth The Woodlands TX 77380 :28 AMC Phona: 2813063020 Fax: 5450 Honea Egypt
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5450 Honea Egypt Road

Concerning the Property at Montgomery, Texas 77316

Seller acknowledges that the statements in this notice are true to the best of Seller's belief and that no person,
including the broker(s), has instructed or influenced Seller to provide inaccurate information er to omit any
material information.

TTD 2/1/2024
atusecof Seller Date Signature of Seller Date
Printed Name: Printed Name:

ADDITIONAL NOTICES TO BUYER:

(1)

(2)

(3)

(4)

(5)

(6)

The Texas Department of Public Safety maintains a database that the public may search, at no cost, to
determine if registered sex offenders are located in certain zip code areas. To search the database, visit

s.gov. For information concerning past criminal activity in certain areas or
neighborhoods, contact the local police department.

If the Property is located in a coastal area that is seaward of the Gulf Intracoastal Waterway or within 1,000
feet of the mean high tide bordering the Gulf of Mexico, the Property may be subject to the Open Beaches
Act or the Dune Protection Act (Chapter 61 or 63, Natural Resources Code, respectively) and a beachfront
construction certificate or dune protection permit may be required for repairs or improvements. Contact the
local government with ordinance authority over construction adjacent to public beaches for more
information.

If the Property is located in a seacoast territory of this state designated as a catastrophe area by the
Commissioner of the Texas Department of Insurance, the Property may be subject to additional
requirements to obtain or continue windstorm and hail insurance. A certificate of compliance may be
required for repairs or improvements to the Property. For more information, please review Information
Regarding Windstorm and Hail Insurance for Certain Properties (TXR 2518) and contact the Texas
Department of Insurance or the Texas Windstorm Insurance Association.

This Property may be located near a military installation and may be affected by high noise or air installation
compatible use zones or other operations. Information relating to high noise and compatible use zones is
available in the most recent Air Installation Compatible Use Zone Study or Joint Land Use Study prepared
for a military installation and may be accessed on the Internet website of the military installation and of the
county and any municipality in which the military installation is located.

If you are basing your offers on square footage, measurements, or boundaries, you should have those
items independently measured to verify any reported information.

The following providers currently provide service to the Property:

Electric: champion Eneray phone #:
Sewer, N/A phone #:
Water: N/A phone #:
Cable: N/A phone #:
Trash: Republic phone #:
Natural Gas: N/A phone #:
Phone Company: N/A phone #:
Propane: Amerigas _Bulk Delivery phone #:
intermet, TMobile 56 phone #:

(TXR-1406) 07-10-23 Initialed by: Buyer: and Seller:| 7” , Page 6 of 7
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Tracee Spruel, 2170 Buckhthorne The Woodlands TX 77380 Phone: 2813063020 Fax: 5450 Honea Egypt
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5450 Honea Egypt Road
Concerning the Property at Montgomery, Texas 77316

(7) This Seller's Disclosure Notice was completed by Seller as of the date signed. The brokers have relied on
this notice as true and correct and have no reason to believe it to be false or inaccurate. YOU ARE
ENCOURAGED TO HAVE AN INSPECTOR OF YOUR CHOICE INSPECT THE PROPERTY.

The undersigned Buyer acknowledges receipt of the foregoing notice.

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MithanNfilaer Geet
Signature of Buyer Date Signature of Buyer Date
Printed Name: Escaped Chicken LLC Printed Name:

(TXR-1406) 07-10-23 Initialed by: Buyer: and Seller. 9? ' Page 7 of 7

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Tracee Spruel, 2170 Buckhth The Woodlands TX 77380 dotios Med Phone: 2813053020 Fax: 5450 Honea Egypt

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Tet TEXAS REALTORS

INFORMATION ABOUT SPECIAL FLOOD HAZARD AREAS

USE OF THIS FORM BY PERSONS WHO ARE NOT MEMBERS OF THE TEXAS ASSOCIATION. OF REALTORS®, INC, IS NOT AUTHORIZED.
OTexas Association of REALTORS®, Inc., 2021

CONCERNING THE PROPERTY AT 5450 Honea Egypt Rd, Montgomery, TX 77316

A.

Cc.

FLOOD AREAS:

(1) The Federal Emergency Management Agency (FEMA) designates areas that have a high risk of
flooding as special flood hazard areas.

(2) A property that is in a special flood hazard area is designated on flood insurance rate maps with
a zone beginning in a “V" or “A”. Both V-Zone and A-Zone areas indicate a high risk of flooding.

(3) Some properties may also lie in the “floodway” which is the channel of a river or other watercourse and
the adjacent land areas that must be reserved in order to discharge a flood under FEMA rules.
Communities must regulate development in these floodways.

AVAILABILITY OF FLOOD INSURANCE:

(1) Generally, flood insurance is available regardless of whether the property is located in or out of a
special flood hazard area. Contact your insurance agent to determine if any limitations or restrictions
apply to the property in which you are interested.

(2) FEMA encourages every property owner to purchase flood insurance regardless of whether the
property is in a high, moderate, or low risk flood area.

(3) A homeowner may obtain flood insurance coverage (up to certain limits) through the National Flood
Insurance Program. Supplemental coverage is available through private insurance carriers.

(4) A mortgage lender making a federally related mortgage will require the borrower to maintain flood
insurance if the property is in a special flood hazard area.

GROUND FLOOR REQUIREMENTS:

(1) Many homes in special flood hazard areas are built-up or are elevated. In elevated homes the ground
floor typically lies below the base flood elevation and the first floor is elevated on piers, columns, posts,
or piles. The base flood elevation is the highest level at which a flood is likely to occur as shown on
flood insurance rate maps.

(2) Federal, state, county, and city regulations:

(a) restrict the use and construction of any ground floor enclosures in elevated homes that are in
special flood hazard areas.

(b) may prohibit or restrict the remodeling, rebuilding, and redevelopment of property and
improvements in the floodway.

(3) The first floor of all homes must now be built above the base flood elevation.

(a) Older homes may have been built in compliance with applicable regulations at the time of
construction and may have first floors that lie below the base flood elevation, but flood insurance
rates for such homes may be significant.

(TXR 1414) 10-19-2021 Page 1 of 3

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Information about Special Flood Hazard Areas concerning 5450 Honea Egypt Rd, Montgomery, TX 77316

(b) It is possible that modifications were made to a ground floor enclosure after a home was first built.
The modifications may or may not comply with applicable regulations and may or may not affect
flood insurance rates.

(c) It is important for a buyer to determine if the first floor of a home is elevated at or above the base
flood elevation. It is also important for a buyer to determine if the property lies in a floodway.

(4) Ground floor enclosures that lie below the base flood elevation may be used only for: (i) parking; (ii)
storage; and (iii) building access. Plumbing, mechanical, or electrical items in ground floor enclosures
that lie below the base flood elevation may be prohibited or restricted and may not be eligible for flood
insurance coverage. Additionally:

(a) in A-Zones, the ground floor enclosures below the base flood elevation must have flow-through
vents or openings that permit the automatic entry and exit of floodwaters:

(b) in V-Zones, the ground floor enclosures must have break-away walls, screening, or lattice walls;
and

(c) in floodways, the remodeling or reconstruction of any improvements may be prohibited or otherwise
restricted.

D. COMPLIANCE:

(1) The above-referenced property may or may not comply with regulations affecting ground floor
enclosures below the base flood elevation.

(2) A property owner's eligibility to purchase or maintain flood insurance, as well as the cost of the flood
insurance, is dependent on whether the property complies with the regulations affecting ground floor
enclosures.

(3) A purchaser or property owner may be required to remove or modify a ground floor enclosure that is not
in compliance with city or county building requirements or is not entitled to an exemption from such
requirements.

(4) A flood insurance policy maintained by the current property owner does not mean that the property is in
compliance with the regulations affecting ground floor enclosures or that the buyer will be able to
continue to maintain flood insurance at the same rate.

(5) Insurance carriers calculate the cost of flood insurance using a rate that is based on the elevation of the
lowest floor.

(a) If the ground floor lies below the base flood elevation and does not meet federal, state, county, and
city requirements, the ground floor will be the lowest floor for the purpose of computing the rate.

(b) If the property is in compliance, the first elevated floor will be the lowest floor and the insurance rate
will be significantly less than the rate for a property that is not in compliance.

(c) If the property lies in a V-Zone the flood insurance rate will be impacted if a ground floor enclosure
below the base flood elevation exceeds 299 square feet (even if constructed with break-away
walls).

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Information about Special Flood Hazard Areas concerning 5450 Honea Egypt Rd, Montgomery, TX 77316

E. ELEVATION CERTIFICATE:

The elevation certificate is an important tool in determining flood insurance rates. It is used to provide
elevation information that is necessary to ensure compliance with floodplain management laws. To
determine the proper insurance premium rate, insurers rely on an elevation certificate to certify building
elevations at an acceptable level above flood map levels. If available in your area, it is recommended that
you obtain an elevation certificate for the property as soon as possible to accurately determine future flood
insurance rates.

You are encouraged to: (1)inspect the property for all purposes, including compliance with any
ground floor enclosure requirement; (2) review the flood insurance policy (costs and coverage) with
your insurance agent; and (3) contact the building permitting authority if you have any questions about
building requirements or compliance issues.

Receipt acknowledged by:

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Ya TEXAS REALTORS

INFORMATION ABOUT ON-SITE SEWER FACILITY

USE OF THIS FORM BY PERSONS WHO ARE NOT MEMBERS OF THE TEXAS ASSOCIATION OF REALTORS®, INC. IS NOT AUTHORIZED.
@Texas Association of REALTORS®, Inc., 2004

5450 Honea Egypt Road
CONCERNING THE PROPERTY AT Montgomery, Texas 77316
A. DESCRIPTION OF ON-SITE SEWER FACILITY ON PROPERTY:
(1) Type of Treatment System: [{x|Septic Tank [x] Aerobic Treatment [ ] Unknown
LJ
(2) Type of Distribution System: Sprinklers, Leach Lines (2 Systems) [| Unknown
(3) Approximate Location of Drain Field or Distribution System: [] Unknown

Southside of Main House : Aerobic System
Northside of Barndominium : Leach Line System

(4) Installer: [x] Unknown
(5) Approximate Age: 15 Years [_] Unknown
. MAINTENANCE INFORMATION:
(1) Is Seller aware of any maintenance contract in effect for the on-site sewer facility? [x] Yes []No
If yes, name of maintenance contractor: Coast to Coast
Phone: (936)894-0752 contract expiration date:

Maintenance contracts must be in effect to operate aerobic treatment and certain non-standard” on-site
sewer facilities.)

(2) Approximate date any tanks were last pumped? April 30, 2021

(3) Is Seller aware of any defect or malfunction in the on-site sewer facility? []Yes [x|No
If yes, explain:

(4) Does Seller have manufacturer or warranty information available for review? []Yes []No

. PLANNING MATERIALS, PERMITS, AND CONTRACTS:

(1) The following items concerning the on-site sewer facility are attached:
planning materials [_] permit for original installation [_]final inspection when OSSF was installed
maintenance contract A manufacturer information [_] warranty information [_]

(2) “Planning materials” are the supporting materials that describe the on-site sewer facility that are
submitted to the permitting authority in order to obtain a permit to install the on-site sewer facility.

(3) It may be necessary for a buyer to have the permit to operate an on-site sewer facility
transferred to the buyer.

(TXR-1407) 1-7-04

Initialed for Identification by ovyer| Mi and Seller| OP :

Page 1 of 2

Tracee Spruel, 2170 Buckhthorne The Woodlands TX 77380 doticop verified Phona: 2813063020 Fax: $450 Honea Egypt

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5450 Honea Egypt Road

Information about On-Site Sewer Facility concerning Montgomery, Texas 77316

D. INFORMATION FROM GOVERNMENTAL AGENCIES: Pamphlets describing on-site sewer facilities are
available from the Texas Agricultural Extension Service. Information in the following table was obtained
from Texas Commission on Environmental Quality (TCEQ) on 10/24/2002. The table estimates daily
wastewater usage rates. Actual water usage data or other methods for calculating may be used if accurate

and acceptable to TCEQ.
Usage (gal/day) Usage (gal/day)
without water- with water-
Facility saving devices saving devices
Single family dwelling (1-2 bedrooms; less than 1,500 sf) 225 180
Single family dwelling (3 bedrooms; less than 2,500 sf) 300 240
Single family dwelling (4 bedrooms; less than 3,500 sf) 375 300
Single family dwelling (5 bedrooms; less than 4,500 sf) 450 360
Single family dwelling (6 bedrooms; less than 5,500 sf) 525 420
Mobile home, condo, or townhouse (1-2 bedroom) 225 180
Mobile home, condo, or townhouse (each add'l bedroom) 75 60

This document is not a substitute for any inspections or warranties. This document was completed to
the best of Seller's knowledge and belief on the date signed. Seller and real estate agents are not
experts about on-site sewer facilities. Buyer is encouraged to have the on-site sewer facility inspected
by an inspector of Buyer's choice.

DocuSigned by:

Capp

2/6/2024

\Signatiize-of Seller

Date Signature of Seller Date

Alliance Farm & Ranch Lic

Receipt acknowledged by:

Mitten Mlace Ee Moe

Signature of Buyer Date Signature of Buyer Date

(TXR-1407) 1-7-04 Page 2 of 2
Tracee Spruel, 2170 Buckhthorne The Woodlands TX 77380 Phone: 2813063020 Fax: 5450 Honea Egypt
Tilah Lee Spruel Produced with Lone Wolf Transactions (zipForm Edition) 717 N Harwood St, Suite 2200, Dallas, TX 75201 wwwtwolf.com

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TON. PROMULGATED BY THE TEXAS REAL ESTATE COMMISSION (TREC) 11-04-2024
TREC AMENDMENT (2)
TO CONTRACT CONCERNING THE PROPERTY AT Gromer
5450 Honea Egypt Road Montgomery
(Street Address and City)

Seller and Buyer amend the contract as follows: (check each applicable box)
(_] (1) The Sales Price in Paragraph 3 of the contract is:

A. Cash portion of Sales Price payable by Buyer at closing ................... $
B. Sum of financing described in the contract..............cccsessesseseeseentens $
C. Sales Price (Sum of A and B).............ccccsessssscssesseessesseeseenecseensesenanens $

[| (2) In addition to any repairs and treatments otherwise required by the contract, Seller, at Seller's
expense, shall complete the following repairs and treatments: (Notice: Paragraph 7 of the
contract governs the completion, delivery of documentation, and transfer of warranties of
repairs and treatments.)

[x] (3) The date in Paragraph 9 of the contract is changed to May 5 , 2025 .

[_] (4) The amount in Paragraph 12A(1)(b) of the contract is changed to {_]$ or{ | %
of the Sales Price (check one box only).

[] (8) The amount in Paragraph 12A(1)(c) of the contract is changed to $

[_] (6) The cost of fender required repairs and treatment, as itemized on the attached list, wil be paid
as follows: $ by Seller; $ by Buyer.

[| (7) Buyer has paid Seller an additional Option Fee of $ for an extension of the

unrestricted right to terminate the contract on or before 5:00 p.m. on
, . This additional Option Fee [_] will[_] will not be credited

to the Sales Price.

(8) Buyer waives the unrestricted right to terminate the contract for which the Option Fee was
paid.

(9) The date for Buyer to give written notice to Seller that Buyer cannot obtain Buyer Approval as
set forth in the Third Party Financing Addendum is changed to :

(10) Other Modifications: (Real estate brokers and sales agents are prohibited from practicing law.)

Oh oO

CO

CONSULT AN ATTORNEY BEFORE SIGNING: TREC rules prohibit real estate brokers and sales
agents from giving legal advice. READ THIS FORM CAREFULLY.

EXECUTEDthe  __ dayof 04/23/2025 ; . (BROKER: FILL IN THE
DATE OF FINAL ACCEPTANCE. )
Mitaw Meter ET (a7 4/23/2025
Buyer ‘Sellesarte.C. Ostrander

Cie lme ilo 4/23/2025
Buyer ‘SelleeDaria R. Ostrander

This form has been approved by the Texas Real Estate Commission for use with similarly approved or promulgated
LON contract forms. Such approval relates to this form only. TREC forms are intended for use only by trained real
TREC estate license holders. No representation is made as to the legal validity or adequacy of any provision in any specific

transactions. It is not intended for complex transactions. Texas Real Estate Commission, P.O. Box 12188, Austin, TX
tasaimanconmnnon 78711-2188, 512-936-3000 (http:/Avww.trec.texas.gov } TREC No. 39-10. This form replaces TREC No. 39-9.

TREC NO. 39-10
TAR 1903

Tracee Spruel, 2170 Buckhth The Woodlands TX 77380 Phone: 2813063020 Fax: 5450 Honea Egypt
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